Exhibit 2
                                                                                          Appellant
                                                                                            S. Page
                                                                                      First Affidavit
                                                                                   Exhibit: "SRP-1"
                                                                                    7 January 2022

                                                                               UKSC 2021/0084
IN THE SUPREME COURT OF THE UNITED KINGDOM                                     ON APPEAL FROM
ON APPEAL FROM THE COURT OF APPEAL                                        CA No. A3/2020/1271
(ENGLAND)                                                                  [20211 EWCA Civ 349




BETWEEN


                          RAS AL KHAIMAH INVESTMENT AUTHORITY


                                                                                      Respondent

                                                and




                                          FARHAD AZIMA


                                                                                         Appellant




                              AFFIDAVIT OF STUART ROBERT PAGE




I, STUART ROBERT PAGE, of 14 Montpellier Road, London, WS 2QP, STATE ON OATH as
follows:

1          I make this affidavit at the request of Farhad Azima ("Mr Azima"), the Appellant, who
           I understand has a pending application for permission to appeal to the Supreme Court,
           and that the evidence I give in this affidavit may be relevant to that application.

2          I have prepared this affidavit in a fairly limited time period as I understand that Mr
           Azima's application may be decided imminently, and so I have not had the opportunity
           to review the full range of potentially relevant documents that are available to me. I
           am therefore preparing this affidavit largely from memory and with limited assistance
           from documents. Subject to this point, and except where I indicate otherwise below,
           the facts and matters stated in this affidavit are within my own knowledge and are
           true. Where information has been supplied to me by others, its source is identified and
           I believe it to be true.



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3           In this affidavit I refer to documents which together comprise exhibit "SRP- 1".
            References to page numbers in bold in squared brackets in this affidavit are references
            to that exhibit.

4           As a result of previous work I carried out on behalf of the Ruler of Ras Al Khaimah
            ("RAK") (the "Ruler"), I gave evidence for the Ras Al Khaimah Investment Authority
            ("RAKIA"), the Respondent, in these proceedings during the trial which took place in
            January and February 2020 before Deputy Judge Lenon QC (the "First Trial"). As
            such, I provided a witness statement dated 20 June 2019 [SRP-1/1-7] (my "Witness
            Statement") and gave evidence at the First Trial on 29 January 2020. A transcript of
            my oral evidence is at [SRP- 1/8- 35].

5           I make this affidavit to supplement the evidence which I gave at the First Trial in the
            present proceedings. I also want take this opportunity to correct part of that evidence,
            as set out below.

My role in the investigation of Khater Massaad

6           I was engaged by the Ruler to investigate Khater Massaad ("Khater") in January 2015,
            in relation to the misappropriation of a large amount of government fund s. Khater had
            previously been the main advisor to the Ruler and a close confidante and friend, and
            he sat on the board of a number of RAK entities.

7           The Ruler initially asked me to meet with Mr Jamie Buchanan ("Jamie"), to whom I
            reported during the course of my mandate, until Jamie left RAK in the summer of 2019.
            In the course of my mandate, I also worked alongside Mr Neil Gerrard ("Neil") of
            Dechert LLP ("Dechert"), although I was never instructed by him in relation to the
            investigation into Khater.

8           In addition to the general mandate described above, Jamie provided more detailed
            instructions and requested that my investigation looked into:

            8.1       Khater's   alleged   connection     with   Hezbollah,   a   prescribed   terrorist
                      organisation, in Lebanon, and alleged assistance in relation to their funding;

            8.2       Khater's assets and business interests, particularly in Saudi Arabia;

           8.3        A concern that Khater was allegedly working with other members of the
                      Ruler's family to overthrow the Ruler;

           8.4        Khater's connections with Iran, and in particular an alleged connection to
                      Iran's Islamic Revolutionary Guard Corps (the "IRGC"); and

           8.5        Khater's business associates, in particular his association with Viktor Bout (to
                      whom I refer in my Witness Statement).



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9            Soon after meeting with Jamie in 2015, I instructed Amit (of Insight - the company
             which I identified during my oral testimony at the First Trial as having assisted me with
             the preparation of the reports I presented to the Ruler, Jamie and Neil) to assist with
             the investigation. Amit is a former Israeli intelligence officer, formerly of Shin Bet
             (Israel's internal security service), and his team of analysts had previous experience
             in military intelligence on behalf of the Israeli Defence Force. Consequently, Amit and
             his team had extensive knowledge of the methods used by Iran and the IRGC to move
             money in support of terrorist organisations. They also had multiple language skills (in
             particular Arabic and Farsi), and so were a natural choice for this project.

10          This project was given the codename "Project Beech" which was used between me,
            Amit and his team .

11          The investigation work was undertaken using three main sources of intelligence,
             namely:


             11.1      HUMINT - human intelligence, which constituted cultivating individuals to
                       provide information;

             11.2      Open Source - research into corporate and other publicly available records;
                       and

             11.3      SIGINT -    signal     intelligence,   which   is   intelligence-gathering   by the
                       interception of communi_cations.

12          SIGINT is a term that originates from intercepting radio signals and tapping a target's
            phone, and continues to be used in the intelligence world (including the commercial
            investigations industry) to include the hacking of confidential emails and unauthorised
            access to other confidential electronic data, to be used as intelligence in support of an
            investigation.

13          My main point of contact was Amit, but I know that Amit used a number of analysts to
            assist with the project by analysing the raw data. I understood from Amit that Insight
            made use of subcontractors located outside of Israel which employed all the above
            means of intelligence gathering, including SIGINT and the use of hacking techniques
            for this purpose.

14          In addition to undertaking some of the investigative work for the project, my role also
            included ensuring that the reports Amit and Insight prepared were shared with the
            Ruler, Jamie and, later on, Neil as securely as possible (given the sensitivity of the
            reports and what they contained).




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15          Amit and Insight authored monthly reports that spanned from February 2015 to May
             2020. One of the reports entitled "Project Update" (dated 26 March 2015) which I have
             seen (in redacted form) in the context of the First Trial [SRP-1/36-52] was the second
             of these reports. The reports would generally include an executive summary, some
             raw data that had been obtained as a result of the investigation (usually contained
            within an appendix to the report), some analysis of this data, and recommendations
             and action points.

16          I recall that some of these reports also featured extracts from confidential documents
             (with the document itself then appended to or embedded in the report) which I
            concluded must have been obtained as part of Amit's and Insight's SIGINT work. It
            was obvious to me (and it would have been obvious to anyone else reading the reports)
            that such documents were obtained as a result of unauthorised access to computers.

17          I was paid around $300,000 per month (sometimes more) for this work from a variety
            of RAK entities. This sum would be subject to occasional uplifts for specific pieces of
            additional work or expenditure which fell outside the scope of my original mandate.
            Approximately $250,000 per month was then paid by me to Amit and Insight for their
            assistance. At various times, Jamie told me that the Ruler was considering cutting my
             budget. However, when I explained to Jamie and Neil that this would involve us losing
            access to some of Amit's sources and methods, Neil and Jamie were successful in
            ensuring that my budget remained at around this level throughout my engagement.

18          Given the nature of the people and organisations we were investigating (including
            those set out above), we adopted secure communications protocols for handling Amit's
            reports and sharing them with Jamie, Neil and the Ruler. The goal of this protocol was
            to leave no paper trail and to ensure that the reports were destroyed after having been
            read.

19          An email account was created that only Amit and I (and my personal assistant, Caroline
            Timberlake ("Caroline")) could access, and to which we knew the username and
            password. A draft email would be prepared (and stay in the draft folder of the email
            account) with instructions and a copy of the report. The report would then be
            downloaded to a standalone laptop (with no connection to my company's servers),
            printed from a standalone printer, and the draft message would be overwritten. The
            procedure is an electronic version of a protocol called a "dead letter box" for ensuring
            that there is no paper trail connecting a sender to a recipient.

20          Amit (or one of his team) would then use a secure messaging application (in the first
            instance, Silent Circle, and later on, Signal Messenger) to send a coded message to
            me (or occasionally Caroline) to indicate that there was something to be reviewed.
            These messages would then be deleted.




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21          To discuss matters relating to Project Beech, other members of the team, including
             Jamie and Neil also used Confide (originally) and then moved to Signal later on. I also
             recall that Andrew Frank (who was part of RAKIA's strategy team - see below)
             routinely used Whatsapp.

22          Once the reports had been downloaded and printed in hard copy, Caroline was
             instructed to delete the electronic copy. The reports were hand-delivered to Jamie for
             his review, or would be left for him at his hotel in London with the concierge. I would
             also deliver the report in person to the Ruler in RAK as part of our regular private
             audiences.

23          At Jamie's request, I would also arrange for a copy of some of the reports (but not all
             of the reports) to be sent to Neil, starting in 2016. At first the reports were delivered
             (via courier or hand-delivered by Caroline) to Neil (or Neil's secretary) at Dechert's
             office in London. However, on one occasion, a report was opened by someone other
            than Neil or his secretary at Dechert. Given the obvious make-up of the report (as set
             out above), this caused Neil real concern, as he asked me to send future reports to his
            home in Nutley, East Sussex. Courier receipts and emails relating to the delivery of
            reports to Neil at Decherts and at his home are exhibited at [SRP-1/53-73).

24          The Ruler instructed me that I was not to send anything to him via electronic means
            or by courier: if I had something to give to him or something to report, I was to meet
            with him in person in RAK. Accordingly, for the duration of Project Beech, I met with
            the Rul.er approximately every three to four weeks to provide an update on our
            investigation. I would usually meet Jamie beforehand and discuss the report in detail,
            and he would indicate any part of the report that he thought I needed to highlight to
            the Ruler. Normally Jamie would then also be present at those meetings with the Ruler,
            and very occasionally Neil would be in attendance as well.

25          A typical meeting with the Ruler would last about 45 minutes, of which the first fifteen
            minutes would be spent discussing world affairs, of which the Ruler is very
            knowledgeable. In my experience in the Arab world, Middle Eastern clients are unlikely
            to read lengthy documents, so frequently the Ruler asked me to give him an overview
            of where we were in the investigation, and occasionally would read the executive
            summary at the front of the report, but not the whole document. I would leave the
            copy of the report with the Ruler before I left.

26          At this point I wish to correct and clarify my evidence given at the First Trial, as I
            realise that I was unintentionally misleading when I said that my reports to clients,
            including the Ruler, were "invariably oral". What I meant was that my reports to the
            Ruler were invariably face to face, in the manner described above.




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27          Every few months, Jamie returned to me the hard copies of the reports he held, on the
            understanding that I would then arrange for the reports to be destroyed (which I then
            did).

28          I also arranged meetings with Amit, Jamie, Neil and me between 2015 and 2019 in
            order to obtain guidance from Jamie and Neil as to the direction of the investigation.
            They were specifically interested in my investigation into the role played by Khater in
            RAKIA's sale of the Sheraton Metechi Hotel in Tblisi, Georgia to three Iranian buyers:
            Houshang Farsoudeh, Houshang Hosseinpour and Pourya Nayebi (who at the time of
            my investigation were on the US sanctions list). I recall that Jamie told me that Mr
            Azima had introduced the three buyers to the transaction and asked me to look into
            the sale of the hotel as part of my investigation. To the best of my recollection, the
            reports produced by Amit and his team in connection with this part of the investigation
            contained information derived from SIGINT material .

29          Starting in 2016, multiple meetings took place at Dechert's office in London. Dechert
            required visitors to sign in and show some form of identification. To the best of my
            knowledge and belief, towards the end of 2016 or the beginning of 2017, Neil became
            increasingly concerned about meeting at Dechert's office as he did not want a written
            record indicating that Amit (or any other member of Amit's team) had visited him. It
            was after this that when we met in London, we gathered at Jamie's suite in the Churchill
            Hotel or in Amit's suite at the Metropolitan Hotel.

30 .        Jamie told me that he also attended strategy meetings in New York every four to six
            weeks with Andrew Frank (of Karv Communications) Amir Handjani ("Amir") (a close
            advisor to the Ruler) and Neil to discuss the investigation and RAK's litigation.

Discovery of the hacked data

31          As set out paragraphs 14 to 15 of my Witness Statement, Jamie told me that he
            understood that a negative publicity campaign had been threatened by Khater against
            the government of RAK and the Ruler, and asked me to keep my eye and ears open
            for anything about such a campaign that might be damaging for RAK.

32          I wish to correct the evidence I gave both in my Witness Statement and during my
            oral testimony at the First Trial as to the circumstances in which Mr Azima's confidential
            information came to be discovered.

33          The fact of the matter is that Majdi Halabi ("Majdi") had no role in the discovery of Mr
            Azima's confidential information. I provided incorrect testimony, claiming that (i) I had
            approached in him in relation to the threatened negative publicity campaign, and (ii)
            he had discovered the data. In fact, I approached Amit (and not Majdi) and asked him




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           to monitor the internet and dark web for such information, and it was Amit who told
           me about the data.

34         In August 2016, Amit provided to me the link to a tranche of Mr Azima's confidential
           data. To the best of my recollection, he shared the link with me using Signal. I do not
           know whether Amit found the data or whether he was passing on information that had
            been found by one of his analysts, but at the time I did not believe that Amit or his
           team had been involved in unlawfully accessing or disseminating the data. I then
            passed on the information to Jamie and Neil for their further handling. Amit, his team
            and I were not instructed to download or review the material, and so I had no further
            involvement in handling this materia l. However, in 2018, in the context of these
            proceedings, it became clear that Neil was desperate to rely on this material for
            RAKIA's claims against Mr Azima.

35          During the second half of 2018, it therefore became necessary for RAKIA to confirm
            and commit to a case as to how it had discovered the confidential data. In November
            2018, my name was disclosed by RAKIA to Mr Azima in the context of these
            proceedings as being the person who informed them of the existence of the tranches
            of data. However, Amit, and later on, Jamie and Neil, had concerns about revealing
           that Amit was in turn the person who had told me about the data, and Amit told me
           that he did not want his name disclosed in proceedings, for fear that, by inference,
           Insight would be accused of being responsible for hacking. Further, there was a
           concern that it would be politically embarrassing for the Ruler if it came to light that
           an Israeli firm had been working for RAK. At this time there were no diplomatic
           relations between the State of Israel and the UAE.

Meeting in Cyprus

36         Consequently, there were a series of meetings between (variously) Amit, Jamie, Neil
           and me to discuss how to respond to Mr Azima's enquiries in these proceedings
           regarding how his data had been discovered by RAKIA.

37         Amit suggested that he would come up with an individual to act as a cover for the
           discovery, who later turned out to be Majdi, who I knew as one of Amit's
           subcontractors. I subsequently met with Majdi and Amit and we discussed the idea of
           Majdi being used as a cover for Amit's discovery of Mr Azima's data. I then discussed
           the idea of Majdi being used as a cover story with Jamie and Neil, and it was
           subsequently agreed that we would all meet to work out the plan. Initially Jamie, Neil
           and I discussed seeing the 'Israeli boys' (i.e. Amit and his team) in Israel as the safest
           option, but we later agreed to meet in Cyprus to sign off on the use of Majdi as a cover
           story.




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38          We met in Cyprus on or around 21 November 2018. The meeting was attended by
            David Hughes (a partner, formerly with Neil at Dechert but, by this time, at Stewarts
            Law ("David")), Neil, Jamie, Majdi, Amit and me. It was agreed at this meeting that
            we would proceed with the cover story that Majdi (and not Amit) had discovered and
            passed the link to Mr Azima's confidential data to me, and that, if necessary, Majdi and
            I would be willing to provide witness testimony to this effect.

39          During this meeting, David raised his objection to the cover story, saying it was "not
            credible" and that it would not work, but Neil made it clear that this was going to be
            the best way forward, and that David needed to fall in line.

40          I subsequently met with Caroline Black and Dorothy Cory-Wright of Dechert and Lucy
            Ward of Stewarts Law to prepare my Witness Statement, which I signed on 20 June
            2019.

41          I apologise unreservedly for the part I played in misleading the Court during the First
            Trial, and wish to state that the remainder of my evidence was true.

Meeting with the FBI

42          In mid-February 2019, Jamie advised me that the Ruler wished for me to attend a
            meeting with the FBI. On or around 21 February 2019, I therefore attended a meeting
            in New York at Dechert's office in order to meet with an FBI agent. My understanding
            was that the purpose of the meeting was to try to persuade the US authorities to open
            an investigation into Mr Azima. This is based on my understanding that for some while,
            RAK had been attempting to persuade the Department of Justice and the FBI to open
            up such an investigation.

43          When I arrived, I met with Jamie, Neil and a Mr Chris Swecker ("Chris") who I
            understand is a lawyer and an ex-FBI agent. However, after we waited for a
            considerable time in the meeting for the FBI agent to arrive, I was told that the meeting
            needed to be cancelled due to a scheduling miscommunication. I returned to the UK
           and awaited further instructions.

44         In early to mid-March 2019, Jamie then advised me that the Ruler wished for me to
            return to the US for a further meeting, this time to Houston. I had not been briefed on
           what the meeting related to, but I was told that my expenses would be covered and
           that I should just make sure that I made myself available. On or around 17 March
            2019, I met with Jamie, Neil, Chris and an FBI agent called Paul Zukas ("Paul") at the
           Hyatt Centric The Woodlands hotel in Houston.

45         In the course of my career, I have had numerous interactions with federal law
           enforcement agencies and the district attorney's office in New York. Those meetings
           always took place at the offices of the relevant organisation. I therefore found it



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            strange that the meeting with the FBI in Houston was held at a hotel and not at the
            field office. At that meeting, Chris told me that I was being considered as a potential
            witness for a grand jury and that the purpose of the meeting was to assess my
            credibility. Following the meeting, Jamie, Neil, Chris and I went for dinner with the
            assistant special agent in charge ("ASAC") of the Houston field office, whose name I
            do not now recall. In the course of that dinner it became apparent that Chris and the
            ASAC were friends.

Meeting in Switzerland

46          As the trial of the proceedings (i.e. the First Trial) approached (due to commence in
            January 2020), I was asked by Amit (who had in turn been instructed by Neil) to
            organise and attend a meeting with him, Jamie, Neil, and Majdi to rehearse our
            testimony for the First Trial. We settled on Switzerland as the location for the meeting.

47         This meeting took place over three days at a small boutique hotel in the mountains
            outside of Bern. Having reviewed my travel records [SRP-1/74-90], I arrived at the
            hotel on the evening of 1 December 2019 and I left on 4 December 2019.

48          Shortly before the meeting, I was told by Neil that the Ruler had instructed him to tell
            Jamie that the meeting was no longer going ahead. As far as I am aware, the Ruler
            had terminated Jamie's employment in the summer of 2019 . I was told by Neil that
            the Ruler therefore had concerns about whether he could be trusted to attend a
            meeting which required total secrecy.

49         Amit and some of his team also attended the meeting and provided extensive security
            for the meeting.

50         I had arranged for a special protocol to be in place to ensure maximum security and
           secrecy. I told Neil to leave his mobile phone at home or to switch it off so that his
           location could not be tracked . Neil, Caroline and I          used burner phones for
           communication purposes, and I left my mobile phone at home.

51         To avoid detection, I did not fly direct to Switzerland . On 1 December, I took a series
           of trains from London to Paris Gare du Nord, then I transferred to Gare de l'Est. From
           Paris, I then took a train to Strasbourg, then to Basel and finally a train from Basel to
           Bern. In Bern, I was collected by a member of Amit's security team and driven to the
           hotel.

52         At the hotel, we went through a mock trial, with Neil acting as both the judge and the
           cross-examining counsel. An effort was made to perfect the narrative that we were to
           tell the English court about how I had discovered the hacked data through Majdi.




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53         We made use of the hotel's private chef and their wine from the hotel's cellar. The day
           was a mixture of eating, drinking and sections of cross-examination by Neil to drill into
           our story. During one of the sessions, Neil said something to the effect of "if they ever
           believe or prove that we are behind the hacking, then this thing is going to drag on for
           years".

Termination of my engagement

54          Following the First Trial, my work for RAK continued until 1 June 2020 when my
           engagement was terminated. I believe that the last report I prepared was for May
            2020. I set out below the circumstances leading up to the termination of my
           engagement.

55         In March 2020, I received a call from Amir who told me that I should have no further
           contact with Neil. By this time, Amir had become one of my points of contact for the
            investigation after Jamie's role had been terminated.

56         I assumed at this point that it was Neil who was being pushed out of the picture by
           the Ruler. I agreed to have no further contact with Neil.

57         It seemed that I was wrong in my assumption when, on 28 May 2020, I received a
            letter from the Investment & Development Office of the Government of RAK saying
           that my engagement had been terminated. The language seemed odd to me given that
           I had never had a formal written agreement with any particular RAK entity that could
            be terminated.

58         This came as a shock to me as I had frequently been told by Jamie that the Ruler was
           grateful for the work I had done for him.

59         I therefore telephoned Amir shortly after receiving the letter to ask what was going
           on. He told me that he knew nothing about this but that he would check the position
           with the Ruler. He then called me back along the lines that I should not worry, that it
           was all connected to internal politics and that I should be re-instated in a few months.
            However, that never happened, and I received a subsequent letter from the
           Investment & Development Office on 14 June 2020 confirming payment of my final




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             invoice.




SWORN by Stuart Robert Page


Signed :       ~ :..S
Date: 7 January 2022




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Occupation: __  (7::)
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                                   _ __

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                        London
                        EC4A1AN




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                                        CA No. A3/2020/1271
                                         [2021] EWCA Civ 349
                        IN THE SUPREME COURT OF THE UNITED
                        KINGDOM
                        ON APPEAL FROM THE COURT OF APPEAL
                        (ENGLAND)




                        BETWEEN

                        RAS AL KHAIMAH INVESTMENT
                        AUTHORITY

                                                      Respondent

                        and




                        FARHAD AZIMA


                                                           Appellant




                             AFFIDAVIT OF STUART ROBERT PAGE




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                       Solicitors for the Appellant




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                                                                                        Appellant
                                                                                          S. Page
                                                                                    First Affidavit
                                                                                 Exhibit: "SRP-1"
                                                                                  7 January 2022


 IN THE SUPREME COURT OF THE UNITED KINGDOM                                    UKSC 2021/0084
                                                                               ON APPEAL FROM
 ON APPEAL FROM THE COURT OF APPEAL
                                                                           CA No. A3/2020/1271
 (ENGLAND}
                                                                            [2021] EWCA Civ 349




 BETWEEN

                               RAS AL KHAIMAH INVESTMENT AUTHORITY

                                                                                    Respondent

                                                      and




                                               FARHAD AZIMA


                                                                                       Appellant




                                              EXHIBIT "SRP-1"




This is the Exhibit "SRP-1" to the First Affidavit of Stuart Robert Page




Stuart Robert Page



Before me:




Name:

Occupation:

Address:
                  Ashfords LLP
                  1 New Fetter Lane ·
                   London
                   EC4A 1AN




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I Tab   I Document                                              I Date             I Pages
 1.      Witness Statement of Mr Stuart Page                     20 June 2019       1- 7

 2.     Transcript of the Evidence of Mr Stuart Page at          29 January 2020    8 - 35
        Trial

 3.      Project Update Report                                   26 March 2015      36 - 52

 4.      Courier receipts and emails relating to the delivery    Various            53 - 73
         of reports to Neil Gerrard

 5.     Travel records relating to meeting in Switzerland        Various            74 - 90




                                                     -60-
                                                                        Claimant
                                                              Stuart Robert Page
                                                                             First
                                                                  ·?.o June 2019


IN THE HIGH COURT OF JUSTICE                         Claim No. HC-2016-002798

BUSINESS AND PROPERTY COURTS OF ENGLAND AND WALES

BUSINESS LIST (ChD)

BETWEEN:


                RAS AL KHAIMAH INVESTMENT AUTHORITY
                                                                        Claimant
                                     -and-

                               FARHAD AZIMA
                                                                       Defendant




            WITNESS STATEMENT OF STUART ROBERT PAGE




I, STUART ROBERT PAGE, of 5-8 The Sanctuary, Ground Floor East, London,
SW1P 3JS, WILL SAY as follows:

1. I am the Chairman and majority shareholder of Page Group Limited ("Page
   Group"), a holding company based in Hong Kong but operating from London.
   Page Group has various subsidiaries including Page Corporate Investigations
   Ltd and Page Protective Services Ltd based In England and Page Group ME
   FSZ based in Dubai. I make this witness statement on behalf of the Claimant,
   Ras Al Khalmah Investment Authority ("RAKIA").

2. Save insofar as is stated otherwise, the facts set out below are within my own
   knowledge or are derived from other sources or documents that I have seen
   and which in all cases, I believe to be true. Where any facts are not within my
   knowledge, the source of those facts is stated.




                                                                                     435
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Background

3. I began my career in the police force (1970-1979), first in Sussex and
    subsequently in the Metropolitan police. Towards the end of my time in the
    police I was seconded to Scotland Yard's Anti-Terrorist Squad and Special
    Branch during the period of the Troubles in Northern Ireland.

4. I left the police in 1979 in order to take a career break and went to work in
    Saudi Arabia as a security and investigations adviser in the construction and
    oil industry. I returned to the UK in around 1983 and worked as a
    subcontractor for companies such as Argen, Kroll and Control Risks. I began
    working for myself in around 1985-1986 and have run my own businesses
    ever since. Due to my early experience in the Middle East I have always had
    a focus on work in the Middle East and am known as a specialist in the area.

5. The Page Group was formed in July 2009. Its subsidiaries, Page Protective
    Services Ltd and Page Corporate Investigations Ltd focus respectively on: 1)
    providing security services to diplomats in hostile environments; and 2)
    undertaking investigations and due diligence. The security services side of
    the business is the largest. Until recently we were the largest supplier to
    institutions of the European Union and in 2016 there were more than 200
    people working for Page Protective Services Ltd around the world. We
    provide either armed or unarmed protection for diplomatic staff in areas of
    conflict such as Afghanistan and Haiti and have worked for the Department
    for International Development (DFID), the Norwegian government, the
    Belgian government, the French government and the British Embassy in Tel
    Aviv.

6. On the investigations side of the business we work for high net worth
    individuals, government bodies and large corporates. Our services include
    asset tracing, specialist research and due diligence, and can involve using
    covert human intelligence sources. Our reputation is critical to us as we rely
    on our network of contacts both for information and the referral of work. We
    do not generally work directly for law firms. We do not undertake cyber
    security investigation work because this is not one of our areas of expertise.



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7. I should say that my recollection of precise dates and events regarding this
    matter is not entirely clear. Generally, I travel a lot and have a busy schedule.
    Furthermore, at the time of the events in question, I was dealing with some
    extraordinarily difficult family issues and therefore my primary focus was not
    on work matters and I do not remember much about what happened at work
    during this period. I don't keep contemporaneous documents and my
    briefings to clients are invariably oral, especially in the Middle East where this
    is very normal.

Initial engagement In Ras Al Khaimah

8. In 2008 I was approached by Khater Massaad who was an adviser to His
    Highness Sheikh Saud bin Saqr Al Qasimi (then the Crown Prince of Ras Al
    Khaimah ("RAK")) and CEO of RAK Ceramics. I believe I was approached
    due to my reputation in the area and my previous work for Mashreq Bank.
    The sister of the owner of Mashreq Bank was Sheikh Saud's wife. At this time
    I was engaged, through Khater Massaad acting on behalf of the Government
    of RAK, to undertake investigation services on a confidential matter unrelated
    to RAKIA or to any of the issues which arise in this case. I reported to Khater
    Massaad and had no direct involvement with Sheikh Saud.

9. In October 2010 Sheikh Saud's father passed away and Sheik Saud became
    the Emir of RAK. My engagement came to an end because the confidential
    investigation I had been working on was no longer necessary.

10. In 2014 I saw in the press that an investigation was taking place into financial
    irregularities in RAK Airways. I contacted someone in RAK that I had known
    through my work for Khater Massaad to see if I could pitch for investigation
    work. I had one meeting with Sheikh Saud but nothing came of it.

11. My next involvement with RAK was in January 2015 when a meeting was set
    up between me and Jamie Buchanan. I cannot now recall who arranged this
    meeting, Jamie himself or a personal assistant. I understood that Jamie was
    an adviser to Sheikh Saud and this was simply a "get to know you meeting".
    We had breakfast in a hotel in Dubai and Jamie asked me about my
    background and the work I did. No specific work for RAK was discussed.


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12. About a couple of months later Jamie and I had another meeting in Dubai and
    at that point we discussed a specific mandate. Jamie said that he was
    involved   in   investigating   wrongdoing   by   Khater   Massaad    and    the
    misappropriation of assets. He wanted my assistance in tracing assets,
    investigating Khater Massaad's involvement with Iran, his links to Hezbollah
    and Lebanon and his relationship with Viktor Bout (who was serving a
    sentence in the US for arms trafficking). I understood my engagement to be
    for the government generally but I did not know which specific government
    entity. There was no letter of engagement specifying a particular RAK entity.
    In my experience, this is common practice in the Arab world.         It is highly
    unusual to have any formal letter of engagement. Business relationships are
    commonly based on trust and a handshake. I was to report directly to Jamie.
    In the course of this mandate, I received instructions from Jamie and reported
    directly to him, sometimes in the presence of Sheikh Saud and on the odd
    occasion Neil Gerrard of Dechert as well. I did not interact with any other
    consultant engaged by RAK or Dechert to investigate Khater Massaad.

Knowledge of Farhad Azima

13. During this period in 2015 when I was undertaking the investigations
    described above in relation to Khater Massaad, I did not come across the
    name Farhad Azima. The first time I recall hearing his name was in early
    2016 at one of my regular catch ups with Jamie. Jamie mentioned that he
    was discussing a commercial enterprise with Farhad Azima relating to high
    tech equipment for the RAK Government and he asked me if I had ever come
    across Major General John Holmes. He thought I might have done because
    Major General Holmes was involved in providing resettlement training to
    people leaving the armed forces and many of those became bodyguards.

14. At another of my regular meetings with Jamie (I do not recall exactly when)
    Jamie mentioned that Farhad Azima had threatened him, although I cannot
    now recall the details. I do recall that Jamie also mentioned (possibly at this
    meeting or a subsequent one) that he understood that a negative publicity
    campaign had been threatened by Khater Massaad against the Government




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    of RAK, His Highness Sheikh Saud and his advisers at Dechert. I do not
    remember how Jamie said this threat had been conveyed to him.

15. During that conversation, Jamie asked me to keep my ears and eyes open for
    anything I heard about a negative publicity campaign that might be damaging
    for RAK. I understood that he had made this request on the basis that I have
    sources and contacts around the world, especially in the Middle East and I
    might be able to find out if someone was running a black PR campaign. There
    was no formal instruction to me about this and I understood it was not money
    earning work, simply a casual request as a favour to let him know if I heard
    anything on the grapevine.

16. Following this conversation with Jamie, I spoke to a few contacts I use
    occasionally in the investigations business, journalism and PR industry and
    asked them to keep their ear to the ground. It is a very small world and we
    share information. If someone does me a favour, they might ask a favour from
    me in return. I cannot now remember who I spoke to about this but I said
    something to the effect that I was interested in any whispers they might hear
    about a possible negative press campaign against RAK. I would have
    mentioned the names of the parties I understood were involved including
    Khater Massaad (who I had been investigating) and Farhad Azima (because I
    knew he had threatened Jamie) but I do not recall specifically what I said.

Comm.unications with Majdi Halabi - first cache of data

17. Since 2005 my company, Page Protective Services Limited (which is now
    part of the Page Group) has provided physical security for an EU aid mission
    to Palestine in Jerusalem. I therefore spent a lot of time going in and out of
    Jerusalem. I met Majdi Halabi at a roundtable lunch in 2012, I believe. Majdi
    Halabi is an Israeli journalist who specialises in Middle Eastern affairs. We
    formed a friendly relationship because we both operate on both sides of the
    Palestinian/Israeli border.

18. Majdi Halabi must have been one of the contacts that I spoke to after my
    conversation with Jamie about the threatened negative publicity campaign. I
    do not recall speaking to him specifically but as he is very knowledgeable in


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    Middle Eastern affairs he was likely to have occurred to me as someone who
    might hear something. No Page Group companies have ever formally
    engaged Majdi. We have more of a friendship than a professional
    relationship. We have a useful mutual relationship. He might ask me, for
    example, if I could run a name check for him in Dubai. There has never been
    a commercial arrangement between us.

19. At some point later that year, I do not recall specifically when, Majdi called me
    and told me that he had come across something interesting on the internet
    about Farhad Azima. He did not tell me how he had come across this
    information. He told me that he didn't want to open the site because it might
    have harmful viruses and he suggested I shouldn't either. As far as I can
    remember, he sent me the website address where the material could be
    found in a WhatsApp message. I cannot check because I regularly delete my
    WhatsApp messages for security reasons. He also told me that he believed
    the information came from the UAE. I did not ask why he thought this.

20. When I received this information from Majdi, I would have picked up the
    phone to Jamie although I do not specifically remember doing so. I was
    speaking to Jamie frequently during the period in relation to my investigations
    relating to Khater Massaad and there would have been no reason to delay in
    passing on this information. I believe I spoke to Jamie first because he was
    my client and that he asked me then to contact Neil Gerrard at Dechert and
    let him know what I had heard but it may have been the other way round. I
    think I may have spoken to them more than once in this period. I do not recall
    how I provided them the links that Majdi had given to me.

21. I do not know what Jamie and Neil did with the information about what Majdi
    had found. I have a recollection that I was told that they intended to get a
    specialist firm to download it but I was not involved in this. I was never
    instructed to investigate Farhad Azima, so I was not told at that time what
    information they had found in the downloaded material. I never downloaded
    the material myself.




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Second cache of data

22. A few weeks later, I recall that I learned that a second set of data relating to
    Mr Azima had been put onto the internet. I cannot recall when or how exactly
    I learned of this. As I had not discussed the first set with any of my sources
    other than Majdi Halabi, I believe it may have been him that told me about the
    second set but it is possible that I was told by one of my other sources. I do
    not recall being told anything about how or when the second set had been
    discovered. I believe that I would have called Jamie or Neil immediately. I
    made no attempt to download the data.

Mr Azima's allegations

23. I am now aware that Mr Azima alleges that RAKIA was responsible for the
    hacking and dissemination of his data. I have never been asked to hack or
    otherwise access Mr Azima's emails or data by RAKIA or anyone else. I do
    not know who hacked Mr Azima's computers or placed his data online. My
    involvement in this matter was limited to passing on of information provided
    by sources to RAKIA as I have already mentioned.




STATEMENT OF TRUTH

I believe that the facts stated in this Witness Statement are true.

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STUART ROBERT PAGE


Date: :i.... o,.. \ 6 \ \   C\




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   1       nothing in Hebrew about this matter.                             1    Q.   No, perhaps that's your business address. I apologise.
   2    MR TOMLINSON: Thank you. May this witness be released?               2        The business address.
   3    JUDGE LENON: Yes. Thank you, Mr Halabi.                              3   A.   It· s The Sanctuary and it's - - · shall I give the full
   4    A. Thank you, my Lord.                                               4        address? It· s The Sanctuary, Westminster, SWl.
   5    MR TOMLINSON: My Lord, before calling the next witness,              5   Q.   Could you look -- there should be a bundle there In
   6        I want to make sure how we're doing in timetabling terms         6        front of you labelled "D", and then if you go to tab 3.
   7       because we've put Mr del Rosso off until tomorrow. The            7        (D/3/1) --
   8        position Is that Mr King can only do tomorrow morning,           8   A. Correct, yes, I have It , yes.
   9       Mr Leach can't do tomorrow morning and --                         9   Q.   - - that should be a document that says "Witness
  10    MR LORD: Sorry, my Lord, I'm eight minutes ahead of time or         10        statement of Stuart Robert Page" on the first page.
  11       ten minutes which is unusual, so I've made a little bit          11   A. Yes.
  12        of time. I would anticipate that I won't need more              12   Q.   Then if you turn to page (D/3/7), is that your
  13        than -- I don't think I will need more than an hour with        13        signature?
  14       Mr Leach and I would estimate roughly half a day - - it          14   A. That is my signature, my Lord.
  15        might be longer - - with Mr Page. So I'm trying to              15   Q. Are there any matters in that statement that you wish to
  16        finish both Mr Leach and Mr Page today. I hope to be            16        correct or clarify , Mr Page?
  17        able to do that.   But If my learned friend wants to call       17   A. Yes, there are.
  18       Mr Leach first to be sure that he can get away today,            18   Q. Do you want to Indicate what they are?
  19        because Mr Page could come back tomorrow if required,           19   A. In reference to my police service, which is on
  20        then that wouid be fine as far as we're concerned. But          20        "Background" at 3, the date I left the police was 1978,
  21        I'm in your Lordship's hands and those of my learned            21        not 1979 {D/3/2).
  22        friend, of course, whose evidence he is calling .               22   Q. Thank you.
  23    MR TOMLINSON: Unfortunately I don't have Mr Leach here at           23   A. And there is a reference, my Lord, to the name of my
  24        the moment.                                                     24        company in Dubai. It's actually called "Page Group
  25            My Lord, the possibilities are I think that Mr Leach        25        Middle East FZE ". I think it 's in the statement as

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    1       Is Interposed in Mr Page's evidence at, say, 3.00, if my         1        "SZE".
    2       friend thinks - - or 3.30 if my friend thinks he will be         2             The other part of my statement, my Lord, is where
    3       an hour or that we put Mr Leach off till -- I think he           3          talk about reference to reviewing documents, but then
   4        can do tomorrow afternoon.                                       4          mention in my statement, my Lord, that I did not - -
    5   MR LORD: My Lord, I was expecting to deal with - - I spoke           5        I'm not familiar with the name ofFarhad Azlma.
    6       to my learned friend about this yesterday - - I was              6   Q.   And what did you want to correct in relation to that,
    7       expecting to deal with Mr Page and Mr Leach today, so            7        Mr Page?
    8       I would prefer to start with Mr Page, as planned, and            8   A. Having been shown a report which was prepared by my
    9       interpose Mr Leach if necessary, but if I finish Mr Page         9        firm, I'm now aware that I was -- should have been
  10        in time, with an hour to go, then we can just go on in          10        familiar with that name.
  11        the normal way and he will be away this afternoon.              11   Q.   What report Is that?
  12    JUDGE LENON: Let's carry on on that basis.                          12   A.   It's a report which I was shown by the -- by
  13    MR TOMLINSON: lfwe revisit at the break in the afternoon.           13        Stewarts Law.
  14        I'm certainly going to call Mr Page next.     I just wanted     14   Q.   I'm sorry, MrPage?
  15        to ensure what we were going to do about Mr Leach.              15   A. Sorry, my Lord, I was asked to look at a document by
  16    JUDGE LENON: That's very helpful.    Thank you.                     16        Stewarts Law and asked to confirm whether that was my
  17    MR TOMLINSON: So, my Lord, I call Mr Page.                          17        report or not.
  18                   MR STUART ROBERT PAGE (sworn)                        18   Q.   Can you be shown {H7/298) please? It is (H7 /299}, the
  19                Examination-in-chief by MR TOMLINSON                    19        next page. Sorry. ls that the document you are
  20    MR TOMLINSON: Could you give the court your address,                20        referring to?
  21        Mr Page?                                                        21   A. That Is the document, my Lord.
  22    A. Number 14 -- sorry, my business address, your Honour, or         22   Q. And sorry, Mr Page, what's your evidence about that
  23        my home address?                                                23        document?
  24    Q. I think your home address Is on the witness statement.           24   A. Well, I was not -- whenlpreparedmywitnessstatement,
  25    A. Right, number 14 --                                              25        my Lord, I was not - - did not recall that we submitted

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   1         this report to the client in which Farhad Azima's name         1    Q. And it looks from paragraphs 1 and 5 as if the
   2         Is quite clearly given.                                        2         businesses are Page Corporate Investigations Limited - -
   3    Q.   Thank yoi.t. Is there anything else that you wish to           3         is that right?
   4         clarify or correct in your statement, Mr Page?                 4    A. That is correct, my Lord, yes.
   5    A. No, my Lord.                                                      5   Q.   - - and Page Protective Services Limited?
   6    MR TOMLINSON: Thank you.Mr Page. If you wait there, there            6   A. That is correct, my Lord.
   7         will be some questions.                                         7   Q. And those are both English companies -- well, English
   8    JUDGE LENON: Can I just be clear what part of the statement          8        and Welsh companies, are they?
    9    you want to correct?                                                9   A. Well, there Is a Page Protective Services in Cyprus and
  10 A. Sorry, my Lord, it was the reference to my police                   10        there Is a Page Protective Services in Hong Kong.
  11     service.                                                           11   Q. So when you say "based in England", what do you mean by
  12 JUDGE LENON: You've done that. In relation to Mr Azima, is             12      that In paragraph 1?
  13     it paragraph 13?                                                   13   A. Well, the company that was performing the contract for
  1 4 A. Yes, paragraph 13. Yes, my Lord. {D/3/4].                          14        the European Commission in -- well, sorry, the company
  15 JUDGE LENON: So what do you want to say instead of that?               15        that was performing the contracts for the European Union
  16 A. Well actually what I'm saying, my Lord, Is of course                16        was Page Protective Services UK.
  17     I should have remembered the name, but at the time                 17   Q. What about the company which did the work In this case?
  18     I prepared my statement In June of 2019 I could not                18   A. Page Group Middle East.
  19      recall Farhad Azima's name.                                       19   Q. That's a Dubai company, is it?
  20    MR TOMLINSON: And that was the result of having been shown          20   A.   It's a Dubai -- what they call a "DMCC company".
  21         that document, the RAK project update?                         21   Q. Apart from the matters that you refer to in your witness
  22    A. That is correct, my Lord, yes.                                   22        statement, do you or any of your companies or firms --
  23    MR TOMLINSON: Thank you, Mr Page. If you wait there, there          23        do they do any other work for any RAK-related entity?
  24         will be some questions.                                        24   A. I'm sorry, my Lord, I don't understand the question.
  25    MR LORD: My Lord, I've raised this with my learned friend,          25   Q.   Well, apart from the work that you've explained in your

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    1        but in view of the matters I am going to be putting to          1        witness statement in paragraphs 1 and 5 (D/3/1-2] and
    2        Mr Page, I thought I should raise with him whether it           2        then the work that you've described starting at
    3        may become appropriate for him to be given any sort of          3        paragraph 13 (D/3/4] -- 12 and 13 - - have you or any of
    4        warning about the privilege against self-incrimination.         4        your businesses done any other work for RAK, the Ruler,
    5        I'm not saying that I advocate that, but I just wanted          5        any RAK entity?
    6        to make sure that that was something that I had at least        6   A. Yes, prior to this project, yes.
    7        broached in case your Lordship or my learned friend or          7   Q. Are any of the companies that you identify in this
    8        somebody thought that at some point in my questioning,          8        statement of yours -- are any of those licensed or
   9         if at all , that was an appropriate warning that should         9        regulated in any way?
  10         be given to this witness. I didn't want it to be said          10   A. Well, there is no regulation in the United Kingdom
  11         that I had crashed on in my forensic eagerness and had         11        regarding security companies providing security in
  12         not allowed that to be considered. So I'm not                  12        hostile environments. We are signatories to the code of
  13         suggesting it or advocating it .   I just thought I ought,     13        conduct, which is part of the UN Charter on how you
  14         as a matter of sort of good order, really , to flag that,      14        operate in conflict zones. There is no requirement to
  15         my Lord.                                                       15        be a licensed investigation company in this country. In
  16    JUDGE LENON: Thank you.                                             16        Israel, where I operate, I do have a security licence
  17                  Cross-examination by MR LORD                          17        issued by the Government oflsrael, as I do in
  18    MR LORD: Mr Page, I'm going to ask you first about the              18        Palestine .
  19         nature of your relevant businesses, if I may.                  19   Q.   If we go to paragraph 5 of your witness statement
  20             Have you got your witness statement there, Mr Page?        20        (D/3/2], where you're explaining the Page Group, and you
  21    A. Yes, I do, my Lord.                                              21        set out some companies there. Can you see -- you say
  22    Q. In paragraph 1 and paragraph 5 you set out the                   22        .''Page Protective Services Limited".   It looks as if that
  23         businesses which you say are relevant to the matters in        23        does security and Page Corporate Investigations Limited
  24         this dispute, don't you (D/3/1-2]?                             24        does the investigation work; is that right?
  25    A. Yes, my Lord.                                                    25   A. That is partially correct, yes.

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   1    Q.   Because you say there they focus respectively on (1)             1          right?
   2         providing security services and (2) undertaking                  2     A. No, I was in the force for eight years, my Lord.
   3         investigations and due diligence.                                3     Q. Then you said in paragraph 4:
   4    A. That would be correct, my Lord, yes.                               4               "I left the police in [1978] in order to take
   5    Q. And would it be right to say that the investigative work           5          a career break and went to work in Saudi Arabia as
   6         that you did in this case in 2015 and 2016 in relation           6          a security and investigations adviser in the
   7         to RAK or RAKlA, that was carried out through                    7          construction and oil industry . I returned to the UK in
   8         Page Corporate Investigations Limited?                           8          around 1983 .. :·
   9    A. No, that is not correct, my Lord.                                  9               Can you see that?
  10    Q. Through which Page entity did you carry that work out?            10     A. Yes.
  11    A. Page Group Middle East Limited, which is a wholly owned           11     Q. What prompted you to take a career break from the police
  12         subsidiary of Page Group Hong Kong.                             12          force in 1978?
  13    Q. And you've said in paragraph 6 of your witness statement          13     A. My Lord, in 1978, as a young detective, I was working in
  14         at page (D/3/2] -- you're explaining the investigation          14          the region of 60 to 70 hours a week. The opportunity
  15         side of your business, aren't you?                              15          came to go a nd work in the Middle East with a tax- free
  16    A. That is correct, my Lord.                                         16          salary which was twice that which I was earning in the
  17    Q. And you say about six lines down:                                 17          police service, and the rule at that time within the
  18             "We do not generally work directly for law firms."          18          police service is that you could take a career break, If
  19             Can you see that?                                           19          you rejoined the service within five years, you
  20    A. Yes, that is correct, my Lord.                                    2 ·o        maintained all your pension contributions and you could
  21    Q.   Is that because, Mr Page, law firms would generally not         21          rejoin without the need to be retrained.   And it was
  22         be comfortable with your methods of investigation?              22          always my intention, my Lord, to rejoin the police
  23    A. That is not correct , my Lord.                                    23          service when I finished working In Saudi Arabia.
  24    Q. So why would it be that you don't generally work                  24     Q. But in the event you did not rejoin the police force?
  25         directly for law firms?                                         25     A. I did not.

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    1   A. Because I -- getting instructed, it is the norm that                1    Q. No. Could you please go to paragraph 8 of your witness
    2        I get instructed with a client that has a problem, an             2         statement at (D/3/3]?
    3        issue, and he would ask me to work alongside his legal            3    A. Yes, I have that.
    4        team in gathering information for their -- in support of          4    Q. You can see in paragraphs 8 to 9 you give some evidence
    5        their litigation .                                                5         about your initial engagement In Ras Al Khaimah. Can
    6   Q.   If you go, please, to paragraph 3 of your witness                 6         you see that, Mr Page?
    7        statement, Mr Page, at (D/3/2]. you explain how you               7    A. I can see that, my Lord.
    8        began your career in the police force, 1970 to 1979,              8    Q.   Have you read your statement recently, your witness
    9         first in Sussex and subsequently the                             9         statement?
  10         Metropolitan Police.    Can you see that?                       10     A. I have been reading it fairly consistently, my Lord,
  11    A. Correct, yes. That's correct.                                     11          yes.
  12    Q. And you say:                                                      12     Q. Since when have you been reading it consistently?
  13           "Towards the end of my time in the police I was               13     A. In preparation for this trial , my Lord.
  14         seconded to Scotland Yard's Anti- Terrorist Squad and           14     Q. And when do you think you first started reading it by
  15         Special Branch during the period of the Troubles in             15          way of preparation for the trial? How far ago, how long
  16         Northern Ireland."                                              16          ago?
  17             To what rank did you rise, Mr Page, when you were in        17     A. Well, my Lord, I just recently returned from a trip to
  18         the police?                                                     18          the Far East and I took it with me to read so I could
  19    A.   Police constable.                                               19          refresh my memory on the testimony that I will be giving
  20    Q. So you were police constable throughout your time in the          20          for your court.
  21         force, were you?                                                21     Q. So what's the answer to my question? Approximately
  22    A.   I was a police constable, yes.                                  22          when -- how long ago did you first re-read this
  23    Q. You were never in fact promoted, were you, then?                  23          statement of yours that you've given in the middle of
  24    A.   I never sought to be promoted.                                  24          last year? Two weeks? Three weeks?
  25    Q. And you were in the force for nearly ten years; is that           25     A. Well, I left for Hong Kong a week ago last Monday.

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   1         I took it with me then. I would have been shown it by           1       Sheikh Zayed of Abu Dhabi.
   2         the solicitors for the client because of the mistake            2           So my instructions were that the Information that
   3         I made regarding the report on -- when -- Mr Azima's            3         -- or the brief that I received was to ascertain
   4         name. So it 's not a very long statement, my Lord.               4      whether Sheikh Khalid was intending to try and -- not
   5         I would have refreshed my memory as and when.                   5       de-throne, but to reappoint himself as a Crown Prince.
   6    Q. And when did you first appreciate that there were                 6    Q. So there was potentially going to be a challenge to the
   7         matters in the statement that you ought to correct?             7       current Ruler and you helped him In that regard?
   8    A. When -- well, first of all when I read that I got the              8   A. Well, there was a challenge to the current Ruler.
   9         date of leaving the police service wrong; more recently          9   Q. And you were retained by or on behalf of the then
  10         when I became aware that I got the name of my company or        10       current Ruler?
  11         the designation of the company in Dubai wrong; and of           11   A. No, I was retained by Khater Massaad in his position as
  12         course, when I was shown this report on the screen here,        12       chairman of RAK Ceramics, who in turn was reporting to
  13         where obviously I should have been aware of                     13       His Highness Sheikh Saud.
  14         Farhad Azima's name.                                            14   Q. Could you be shown, please, [Day2/85:l)? Mr Page,
  15    Q.   So the first time you thought you ought to revise this          15       you' Ii see starting at paragraph 9 -- on Day 2,
  16         statement was when Stewarts Law showed you a copy of the        16       page85 --
  17         project update that you've referred to this morning?            17   A. Yes, I can see It, my Lord.
  18    A. That is correct, my Lord.                                         18   Q. -- Mr Buchanan was asked about certain matters
  19    Q. And had that not been shown to you, it's unlikely you             19       pertaining to you. And he said at line 9:
  20         would have sought to revise your evidence in that               20           "Answer: Mr Page had worked for the RAK Government
  21         regard. isn • t it , Mr Page?                                   21       previously ."
  22    A. My Lord, I would like to, if I may, put into context              22           And I asked him.
  23         what was going on in my life in June of 2019 when               23           "Question: Doing what?"
  24         I prepared this report.                                         24           And he said:
  25                In August of 2019 I was diagnosed with clinical          25           "Answer: I believe It was during the time of --

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    1        depression, which takes me back to June of 2019, where           1       there was certain dissent taking place over the
    2        my psychiatrist is clear that I would have been                  2       leadership at RAK, and I believe it was at that time
    3        suffering from depression at that point. Therefore, my           3       that Mr Page worked for His Highness who was then
    4        Lord, with respect, my recollection of events that               4       Crown Prince."
    5        occurred some four years previously was slightly shaded.         5           And I said .
    6   Q. Could you please look at paragraphs 8 to 9 of your                 6           "Question:     ... So Mr Page worked for the
    7        witness statement (D/3/3)?                                       7       Crown Prince before he took over as Ruler of RAK?"
    8   A. Yes.                                                               8           And Mr Buchanan said:
   9    Q. You're referring there, aren't you, to some work that              9           "Answer: That Is speculation on my part because
  10         you did from 2008 to 2010 for the current Ruler of              10       I was not involved at the time."
  11         Ras Al Khaimah?                                                 11           Was Mr Buchanan right to be giving evidence that you
  12    A.   It was on behalf of the current Ruler of Ras Al Khaimah,        12       were Involved in relation to certain dissent within
  13         yes.                                                            13       Ras Al Khaimah at around that time?
  14    Q. Yes, when he was the Crown Prince?                                14   A. I'm sorry, my Lord, I didn't quite understand the
  15    A. That is correct, my Lord.                                         15       question. Again?
  16    Q. And It's right, isn't it, that there was something of             16   Q. What were you doing, Mr Page? What were doing at that
  17         a struggle for power within Ras Al Khalmah around that          17       time? What was the remit? What were you doing?
  18         time?                                                           18   A. Okay, so the remit was to try and ascertain what plans
  19    A. I would not, my Lord, describe it as a "struggle for              19       Sheikh Khalid had to try and destabilise His Highness'
   20      power".                                                           20       position as the Crown Prince of Ras Al Khaimah.
   21   Q. So what was the work that you did at that time In terms           21   Q. And what did you do in terms of investigating or
   22        of investigation services?                                      22       ascertaining what those plans were or might be?
   23   A. So, my Lord, His Highness Sheikh Saud had been appointed          23   A. We conducted surveillance in London. My Lord, I· m not
   24        Crown Prince after his half-brother had been removed            24       quite sure that it •s appropriate to talk about what is
   25        from that position on instructions of the late                  25       a confidential matter between myself and His Highness

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   1         unrelated to Khater Massaad, but if you instruct me to           1   A. My Lord, His Highness Sheikh Saud has his own sources of
   2         do so, I will do so.                                            2         information. I was Just one of those sources of
   3    JUDGE LENON: Will you answer the question, please?                    3        information, carrying out the instructions given to me
   4    A. Okay. So we were undertaking intelligence-gathering,               4        by Khater Massaad to try and understand -- for example,
   5         trying to understand what his plans were, who he was             5        my Lord, we followed Sheikh Saud [ sic I to Geneva because
   6         meeting with, how he was being supported, what his PR            6        we believed that he was going to attend an important
   7         campaign was, and things along those lines .                     7        meeting in Geneva. That is a very complicated and very
   8    MR LORD: You did that for how long? Over what period?                 8        expensive operation and it was successful.
   9    A. To the best of my knowledge and my belief, my Lord --              9              We followed him to the United States for the
  10         well, it was at least two -- I presume two years prior          10        inauguration - - where he went to the inauguration of
  11       to the death of the Ruler.                                        11        President Obama. He also met Hillary Clinton, so we
  12    Q. And what form did the surveillance and monitoring that            12        were understanding how he was trying to elicit support
  13         you're describing -- what form did that take? How did           13        from the United States for his potential attempt to
  14         you actually carry it out?                                      14        regain power or -- correct - - to regain his position in
  15    A. Well, at that time, Sheikh Khalid was living - - or still         15        Ras Al Khaimah as the Crown Prince.
  16         does, I believe - - living in Kensington, so we were            16   Q. Sorry, Mr Page, when you said that the Sheikh had his
  17         physically putting him under surveillance .                     17        own sources of information, what were you there
  18    Q. You had people following him?                                     18        referring to?
  19    A. That is correct, my Lord.                                         19   A.   I presume, my Lord, coming from sources within --
  20    Q.   And were there any other forms of intelligence -gathering       20        sources within Ras Al Khaimah.
  21       that you used?                                                    21   Q. MrPage--
  22    A. No, the purpose was -- is to understand who his advisers          22   A. But, my Lord, I never met His Highness during the whole
  23         were. So the purpose of physical surveillance was to            23        engagement on this issue. In fact, the first time I met
  24         see who he met, where he went and nothing else, my Lord.        24        His Highness ls when he instructed me in relation to the
  25    Q. Mr Page, Just seeing where the Sheikh went and who he             25        Issue before the court now -- correction, the matter of

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    1        spoke to. who he met, that wouldn't tell you, would it.          1        Khater Massaad.
    2        what he was talking about, what his plans were? That             2   Q. Mr Page, you would have wanted, wouldn't you, to obtain
    3        would just tell you his physical movements, wouldn't it,         3        what was likely confidential information at that time in
    4        Mr Page?                                                         4        order to be able to tell - - to inform the Sheikh - -
    5   A. My Lord, with respect, if you conduct surveillance in              5        sorry, the Ruler -- about the Sheikh's plans?
    6        a proper manner, you are able to determine what someone          6   A. By" confidential information", what are you referring
    7        is meeting with because the whole purpose of                     7        to?
    8        surveillance - - and it was a very large surveillance            8   Q. You'd want information from people who were on the
    9        operation -- is you would have multiple teams, and the           9        inside, as you would see it, of the Sheikh's gang,
  10         architect of a multiple team is if Sheikh Khalid met            10        wouldn't you? That's what you'd want, isn · t it,
  11         Mr A and we didn't know who Mr A was, we would then             11        Mr Page?
  12         follow off - - a part of the team would follow off Mr A         12   A. That Is correct.
  13         to ascertain who he was.                                        13   Q. You'd want some inside information, wouldn't you,
  14             So from memory-- and it's a long time ago, my               14        Mr Page?
  15         Lord - - he had a lawyer representing him, so we needed         15   A. That is correct, my Lord.
  16         to find out -- we identified who that lawyer was. He            16   Q.   And are you telling his Lordship that over the period of
   17        had a PR company representing him. We found out who             17        two years, all you did was physically tall these people
  18         that was. And we at one point -- I think, my Lord, from         18        and you didn't actually obtain any inside information at
  19         memory, we followed him to the Israeli Embassy.                 19      all?
  20    Q. So, so far you've got the Sheikh, you've got the PR               20   A. Not at all , my Lord. In fact we developed intelligence
  21         company, the lawyer and the Israeli Embassy. That's             21        that Sheikh Saud [ sic I and/or his wife were involved in
  22         four bits of information. That doesn't allow you,               22        a number of Industrial tribunal cases before the courts
  23         Mr Page, does it , to ascertain what the plans are? How         23        in England, involving members of his entourage who had
  24         do you know what the plans are? They may be just having         24        sued him for unfair dismissal. We then cultivated those
  25         a lunch at the Israeli Embassy.                                 25        people as what we call a "confidential source" to know

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    1        what they knew about his plans in respect of                      1        Ras Al Khaimah had illegal , unsavoury relationships with
    2        Ras Al Khaimah. So they were former employees of                  2        Iran.
    3        Sheikh Khalid who may or may not have been privy to               3            So it was out there on the internet, my Lord.
    4        information concerning his plans to regain his position           4        I didn't have to find it -- sorry, I did not have to get
    5        as the Crown Prince.                                              5        it from a source. Sheikh Khalid was employing a company
    6   Q. You're talking about Sheikh Khalid there, aren't you?               6        called Californian Strategies to lead his PR campaign
    7        The Ruler was Sheikh Saud and Sheikh Khalid was the               7        against His Highness Sheikh Saud.
    8        person --                                                         8   Q.   I think from that answer you've just given, Mr Page, it
    9   A. Yes, I beg your pardon.                                             9        wouldn't concern you when gathering intelligence if the
  10    Q. That's all right.       I think it's clear.                        10        source disclosed confidential information to you
  11                So you were getting information from ex-employees at      11        because, as far as you were concerned, that was their
  12         that time?                                                       12        responsibility , whether it was confidential or not;
  13    A. We were seeking to get information from ex-employees,              13        would that be fair?
  14         yes.                                                             14   A. That would be fair, my Lord, yes .
  15    Q.   I suggest that you succeeded, didn't you, Mr Page, in            15   Q. Who did you deal with - - when you were working around
  16         all likelihood?                                                  16        about 2008 to 2010 for the current Ruler, as you've
  17    A.   I cannot recall whether we -- we have a number of ways,          17        described, I think you said that you were engaged
  18         my Lord, of cultivating sources, and I can't, after all          18        through Dr Massaad; is that right?
  19         these years, remember whether we succeeded or didn't             19   A. That is correct, my Lord.
  20         succeed.     I seem to recall that his former security           20   Q.   And who else did you come across at RAK or the Palace or
  21         adviser was one of those people that we managed to talk          21        part of the Ruler's group in the widest sense during
  22         to and he provided information because he was a very             22        that engagement of yours over that two-year period?
  23         aggrieved ex-employee of His Highness -- sorry, of --            23   A.   Okay, my Lord, so how this came about Is I was in
  24         well, he's still His Highness -- Sheikh Khalid and he            24        Brussels meeting the European Union in relation to one
  25         wished to vent his anger by sharing information. That's          25        of my contracts.   I received a phone call from someone

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    1        how we operate in this business.                                  1        called Wahid Attalla, an Egyptian gentleman, who I'd
    2   Q. In other words, this aggrieved employee would have told             2        known since my engagement with the Government of Dubai
    3        you confidential things that he'd learnt when he was              3        in relation to other matters which were before the - -
    4        working as a security officer for Sheikh Khalid?                  4        other matters.
    5   A. Yes, and it's not for me to question whether he was in              5            Wahid Attalla said basically , my Lord, "Where are
    6        breach of any of his employment obligations.                      6        you? Can you make it to Geneva?", and I said, "If it 's
    7   Q.   Or for you to question whether he was breaching any duty          7        important, I can make it to Geneva". So I flew to
    8        of confidentiality presumably, Mr Page?                           8        Geneva, I then met Dr Massaad and I was then taken on
    9   A.   It· s - - that was not for me to consider.                        9        his private jet and I was flown to Lebanon to be briefed
  10                My Lord, he was what we call in this industry --          10        on this issue of Sheikh Khalid.
  11         it 's called "HUMIT", which stands for "human                    11   Q. Do you want to answer the question, please, Mr Page?
  12         intelligence ", but in everyday speak, it 's                     12   A. Only Dr Massaad and Wahid Attalla and no one else.
  13         a confidential source.     And that confidential source may      13   Q. And so when you reported back on the fruits of your
  14         well be, my Lord, a Journalist that Sheikh Khalid is             14        information-gathering and monitoring at that time, to
  15         seeking to get him to write some positive PR spin.               15        whom did you report?
  16         I have a number of -- then and to this day - - a number          16   A. Dr Massaad.
  17         of journalist sources who would let me know if                   17   Q.   Did you ever report directly to the Ruler?
  18         they're -- in fact, my Lord, it was all out there on the         18   A. Absolutely not.
  19         internet that Sheikh Khalid -- what his plans were. He           19   Q. Andwhywasthat?
  20         was spinning his story on the internet as to how he              20   A.   Because this is the way that Dr Massaad wanted the case
  21         should be the Ruler of - - sorry, he should be the               21        to be run. I didn't question his instructions.
  22         Crown Prince of Ras Al Khaimah, not Sheikh Saud, which           22   Q. And how often did you report back in that engagement?
  23         included a disinformation programme, including                   23   A. We used to have regular updates, but I would say six,
  24         publishing a report which is known as the "Rogue                 24        eight, ten weeks; for example, if Dr Massaad was
  25         Report", claiming that Sheikh Saud and the Emirate of            25        travelling in Europe, I would meet him. Such meetings

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   1         I had in Nice with him, I met him in Germany, I met him          1             "About a couple of months later Jamie and I had
   2         in Switzerland, occasionally I met him in Ras Al Khaimah         2         another meeting in Dubai and at that point we discussed
   3         or in Dubai, because I've been a frequent traveller , my         3         a specific mandate."
   4         Lord, to Dubai since - - as long as I can remember, but          4             That's around about March 2015, Isn't it, Mr Page?
   5         certainly since 1995.                                             5   A. Yes, but Mr Buchanan's evidence is wrong.
   6    Q.   It's right, isn't it, that that was really how you                6   Q. In what respect?
   7         became a trusted adviser as far as the current Ruler of           7   A. So in the chronology of the events, my Lord, which is
   8         Ras Al Khalmah is concerned? That's how you gained his            8        referred to in my statement, I saw information in the
   9         trust, through this engagement, wasn't it, Mr Page?               9        local media regarding an investigation or Issues to do
  10    A. I would not say that, my Lord, no.                                 10        with RAK Airways. I am very knowledgeable about how
  11    Q. How else do you think that you managed to gain the trust           11        they report things in the Gulf papers, and when they say
  12         of the Ras Al Khaimah Ruler or government bodies?                12        "issues", there is an underlying Issue. So I reached
  13    A. My Lord, without sounding big-headed, I'm a known entity           13        out for Wahid Attalla, the gentleman I referred to who
  14         In the UAE. I have worked for the Government of Dubai            14        introduced me to Khater Massaad, and asked him If he
  15         since 1995. I continue to work for the Government of             15        would effect me an introduction to His Highness, who I'd
  16         Dubai until this date. My reputation in the UAE -- they          16        never met before.
  17         respect my knowledge, they respect my ability and                17            So I went to the Palace with Wahid Italia , I met
  18         His Highness' wife is married to someone called                  18        His Highness, we had a get-to-know-you conversation. It
  19         Abdul Aziz Al Ghurair. Abdul Aziz Al Ghurair is the              19        was then, some months later, that His Highness summoned
  20         sister - - I beg your pardon, Abdul Aziz Al Ghurair is           20        me back to the Palace, after I had met Jamie Buchanan.
  21         the chairman of Mashreq Bank. I was worked for                   21            My Lord, it 's important to understand that
  22         Mashreq Bank, so therefore in looking for an adviser - -         22        His Highness has a habit of compartmentalising things.
  23         or - - correction -- looking for someone to service his          23        He would ask me to do certain things, but not involve
  24         needs, it would be not too difficult for His Highness to         24        Jamie Buchanan. So, therefore, I had this Chinese wall
  25         check into my bona fides.                                        25        between what His Highness wishes me to undertake and

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    1   Q. Did you do any work for the Ruler or for RAK, any                   1        what he wishes Mr Buchanan to understand.
    2        RAK-based entity, after 2010 but before the end of 2014?          2   Q.   In your witness statement, Mr Page, at paragraph 10
    3   A. I did not.                                                          3        (D/3/3]. you set out I think some evidence about what
    4   Q. Can we come on to your work in 2015 in RAK, please,                 4        you've just said .   ls that what you're talking about?
    5        Mr Page? Would you go to paragraph 12 of your witness             5        You had one meeting with Sheikh Saud?
    6        statement at (D/3/4]? You see you say this:                       6   A. Sorry, paragraph which are we looking - -
    7            "About a couple of months later ..."                          7   Q.   10 of your witness statement at (D/3/3] .
    8            So I think we should probably look at paragraph 11,           8   A. Paragraph 10 of my witness statement? That talks about
    9        where you say that you went to see Mr Buchanan In                 9        RAK Airways. Is that what you're referring to?      I'm
  10         January 2015 -- can you see that?                                10        sorry, my Lord, I - -
  11    A. Yes, I do, yes.                                                    11   Q. You've just explained how you basically contacted --
  12    Q. - - and you say you cannot recall who arranged the                 12        well, read paragraph 10. I assumed that paragraph 10
  13         meeting.                                                         13        was a summary form of what you have Just said, Mr Page.
  14    A. Well, It's more than likely it was His Highness'                   14   A. Yes, I'm sorry, my Lord. That Is correct, yes.
  15         personal secretary.                                              15   Q. Well, it 's your statement. You must know what you meant
  16    Q. But who instigated It? Was it you or Mr Buchanan who               16        by it , Mr Page.
  17          initiated It? Who called who first?                             17   A. I think, my Lord, I have actually reported how it
  18    A. So from recollection I received a call from                        18        actually - - sorry, presented to you how it occurred.
  19         His Highness' secretary saying she wished me to meet             19   Q.   It wasn't a trick there .    I was Just trying to help you.
   20        someone -- sorry, on instructions of"His Highness, I was         20   A. Oh, I'm sorry. Thank you.
   21        to meet one of his advisers, and then it · s possible, but       21   Q. So then we can pick the story up In paragraph 11
   22        I cannot recall exactly , my Lord, that Mr Buchanan              22        (D/3/3). You've now helpfully explained that you did
   23        phoned me and said, "When can we meet?" I don't think            23        have a meeting with Sheikh Saud in 2014 and the next
   24        Mr Buchanan even knew I was in the UAE at that point.            24        involvement you had with RAK in January 2015 was
   25   Q.   In paragraph 12 you say this:                                    25         likely - - it sounds as if it was initiated by the Sheikh

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   1         who, through his personal assistant, invited you to come      1       move on because all I want to establish , as
   2         to meet Mr Buchanan.                                          2       your Lordship will appreciate, is the relevant remit for
   3    A. Well, no, I think - - yes, he asked me to ·meet                  3      this gentleman. So it looks like this is part of the
   4         Mr Buchanan, but there was a subsequent meeting at             4      run-in.    That's all. That's why I ask the question.
   5         the Palace with His Highness.                                  5          Can I ask a different question, then?
   6    Q. And when was that?                                               6          Mr Page, in paragraph 12 of your witness statement
   7    A. Some time -- right, so, if I put it into context --              7       (D/3/4], you say this:
   8    Q.   No, sorry, Mr Page --                                          8           "About a couple of months later, Jamie and I had
   9    A. No, this is important. In December 2014 through to               9      another meeting in Dubai and at that point we discussed
  10         early -- to the middle of January 2015, I was in the          10      a specific mandate."
  11         UAE -- I was in the UAE on an assignment for another          11          You're not here talking about this confidential
  12         member of a royal family .                                    12      personal matter, are you?
  13             So, yes, there was the initial meeting with               13   A. No, I'm not.
  14         Jamie Buchanan, but that was a get-together meeting and       14   Q. You're talking about something different, aren't you,
  15         nothing else at the Park Hyatt Hotel in Dubai.                15      Mr Page?
  16    Q. Mr Page, I was just asking you when did you have this           16   A. I am, my Lord, yes.
  17       meeting with His Highness.                                      17   Q. So is your evidence right there that around about
  18    A. It could have been three days later , it could have been        18      March 2015 you had this meeting with Mr Buchanan when
  19         four days later.   I honestly can't remember. Certainly       19       you discussed a specific mandate?
  20         before I left the UAE, somewhere around mid-January.          20   A. Yes, my Lord, because the reason this is now -- when
  21    Q.   So some time in the first half of January --                  21       I've corrected my witness statement is the report that
  22    A. Correct.                                                        22       is before - - that has now been disclosed and I have
  23    Q.   -- 2015?                                                      23       shown is dated March 2015 and it refers in this report
  24    A. No, not the first half of January because I left Dubai          24       to a previous report, so it is inconceivable that
  25         on or around 10 January.                                      25       in March 2015 I was receiving an instruction from

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    1   Q. So some time in the first half of January 2015?                  1       Jamie Buchanan in relation to -- well, I received
    2   A. Well, I wouldn't - - okay, semantics, my Lord, but               2       a mandate, but I was obviously mandated before this
    3        I would agree with you, yes.                                   3       report, and that's the matter that I said is before
    4   Q. And what did you discuss with the Ruler on that                  4       His Highness which I don't think I can disclose any more
    5      occasion?                                                        5       at this point.
    6   A. My Lord, I am in some difficulty here because it was             6   Q. Sorry, so are you saying that the report we --
    7        a confidential discussion and instructions from                7   A. My Lord, the timeline doesn't work because you're
    8        His Highness in relation to a personal matter which            8       talking of a report dated 26 March 2015 and in
    9        I don't believe relates to the matter before the court         9       Mr Buchanan's evidence he talks about briefing me in - -
  10         today. I am happy to disclose it to you, my Lord, but         10       sorry, in -- at the same period. It doesn't work.
  11         I don't think it 's appropriate, when we have members of      11       There was a previous engagement, which is the one I'm
  12         the press in the back of the court, for me to disclose        12       referring to, with His Highness, who I don't think I can
  13         what is a confidential discussion between myself and          13       disclose in open court.
  14         His Highness because, my Lord, to do so would destroy my      14   Q. Well, I'm sorry about that -- I'm sorry, my Lord, I'm
  15         reputation as someone who deals in confidential matters.      15       troubled by that answer. If you go to [H7 /299/3] -- get
  16    JUDGE LENON: At the moment! don't see why it's necessary           16       that page up first , Mr Page.
  17         to go into any detail as to the nature of the personal        17   A. Yes.
  18         matter, if that's the evidence.                               18   Q. This is an extract from the report that you or your firm
  19    MR LORD: No, I'm happy with that, my Lord, but                     19       did - - and we' II come back to it in more detail today - -
   20        your Lordship will see I am anxious to get to the             20   A. Correct.
   21        bottom --                                                     21   Q. -- on26March2015. It's yourfirm's report, isn't it?
   22   A. My Lord, I am prepared to share a piece of information          22   A. Yes, it ls my firm's report, yes.
   23         if you feel , but it's very limited as to what I'm           23   Q. Can you see at the top it says:
   24        prepared to say in open court.                                24             "KM efforts against the client ."
   25   Q.    It may become relevant, my Lord, this point, but we'll       25   A. Yes.

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   1    Q. "FA and the US Advisory Team."                                    1        to any issue in this case, for confidential professional
   2    A. That Is correct, my Lord.                                         2        matters to be disclosed in open court of an irrelevant
   3    Q. "FA" refers to Mr Azima, doesn't it, Mr Page?                     3·      nature.
   4    A. It does, my Lord.                                                 4    MR LORD: My Lord, the difficulty with that Is that this
   5    Q. And it says -- this Is the words of your fi rm's report:          5        problem has arisen because of the way in which the
   6            "In continuation to our previous report, we were             6        claimant has gone about explaining Mr Page's role
   7        Informed by several new sources that FA is managing KM's         7        because it's clear from these answers that there is
    8       efforts in the US and perhaps even paying their bills ."         8        potentially a relevant connection between the previous
   9            Now, Mr Page, it looks, doesn't it, on the face of           9        report and mandate and matters that I am allowed to ask
  10        this report of yours in March, that there Is a link             10        him about because clearly they relate to Mr Azima and
  11        between this report, In this part of it anyway, and             11        this case.
  12        a previous report.   Is that right?                             12            So if there is some overarching concern or some
  13    A. That is correct, my Lord.                                        13        ability to pass the earlier report and the earlier
  14    Q. So what is the link between what we see here and what            14        mandate, that's something that should have been dealt
  15        you covered In your previous report?                            15        with before if in fact -- through RAKIA factoring in
  16    A. My Lord, this is where I'm in some difficulty because,           16        that this report was that of Mr Page and not adducing
  17        as I tried to explain, the meeting with His Highness            17        evidence, as it has done, of a sort that your Lordship
  18        In January of 201 5 gave me a specific mandate of which         18        has seen that disguises Mr Page's role because -- I am
  19        this is just part of that mandate. But again , my Lord,         19        anxious that we go into private and we don't have the
  20        I'm happy to disclose it , but I don't think I would be         20        rigour of open court when I'm asking this witness
  21        happy to disclose it in the presence of the media.              21        questions because it would be my submission that he has
  22    Q. But it says:                                                     22        told lies on oath, and I' II tell your Lordship that
  23            "In continuation to our ...                                 23        Mr Page has lied on oath in relation to the written
  24            It's under the heading "FA and the US Advisory              24        reports and In relation to his coming across Mr Azima,
  25        Team".                                                          25        and In those circumstances, In my submission,

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    1   A. My Lord, it · s Impossible to put this report into context        1        your Lordship should think very long and hard before we
    2       if you don't understand the mandate that I received from         2        abandon the usual approach of staying in open court.
    3       His Highness based on the Information that he had                3            I can ask questions - - I' II try and ask my questions
    4       received.                                                        4        more slowly to establish the link to Mr Azima. I'm
    5           My Lord, I really am in some difficulty here because         5        happy to do that.    But I am anxious that we should keep
    6       you're asking me to breach a confidence and I don't feel         6        the public forum here to make sure that we get
    7      comfortable.                                                      7        a truthful answer, if your Lordship understands what I'm
    8   MR TOMLINSON: My Lord, it's not something that I know                8        saying.
    9       anything about, but obviously this witness is concerned          9    JUDGE LENON: I'm certainly at this stage not going to go
   10       about It and, my Lord, there are two ways of dealing            10        into any sort of closed session.   What do you say to the
   11       with it .                                                       11        proposal that Mr Page should write down on a piece of
   12           The first is that Mr Page can write something down          12        paper the nature of the issue that he's uncomfortable
   13       on a note to be shown to your Lordship and my friend,           13        about?
   14       indicating the general nature of the matter, or the             14    A. My Lord, it is quite - - I beg your pardon.
   15       second is that the court can go Into private for this           15    MR LORD: Well, we can try that, my Lord. I'm very happy to
   16       evidence to be explored.                                        16        try that, but I am going to have to ask about the
   17           It 's probably sensible that the first option be            17        connection with the - - this witness has said that there
   18       explored first because then we may get some clearer idea        18        Is a connection so I am going to have to ask him about
   19       of what the ambit of it is.    But obviously it 's              19        that.
   20       appropriate for -- if this is a -- your Lordship will           20    JUDGE LENON: I see that and I see that's on the face of it
   21       appreciate the Ruler isn't my client and I don't know           21         plainly relevant.
   22       anything about this matter that's been talked about, but        22    A. My Lord, it is quite - - with respect to everybody, it's
   23       obviously this witness is in some discomfort about              23        quite difficult for me to put this In succinct format in
   24        disclosing what he regards as confidential professional        24        two or three lines .     will repeat. I am happy to
   25       matters and It wouldn't be right, if it's not relevant          25        breach the confidence. There are representatives of

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   1       His Highness here who would have no knowledge of the               1       this as to the role of Mr Azima in the thinking of
   2       mandate I was given because this is a personal                     2       RAKIA. He didn't plead that case. So I'm not objecting
   3       conversation between a sovereign ruler and myself, but             3       to him now putting all these points to my witness in
   4       I am happy to disclose It to the court, but not in the             4       cross-examination, but I am objecting to him complaining
   5       presence of the media.                                              5      that somehow I've suppressed reference to these in
   6    MR LORD: My Lord, this is likely to be relevant because                6      evidence when they're not part of the case .
   .7      a private conversation between Mr Page and the Ruler                7          But, my Lord, what we've got to deal with here is
   8       that establishes some direct line of communication                  8      my friend says, "Well, it 's relevant that Mr Page was in
   9        between those two gentlemen is obviously relevant to               9      communication with the Ruler". That may be relevant,
  10        this case.   It's relevant.    The subject matter may not         10      but that's not In dispute. That's clear on the face of
  11        be relevant, but the fact of the communication is                 11      the evidence.   It's been -- it 's mentioned in Mr Page's
  12        relevant, and I repeat that the problem has arisen                12      witness statement. He's mentioned it again In evidence
  13        because of the way In which -- the evidence that RAKIA            13      today.
  14        has disclosed about Mr Page and his previous work in and          14          If he wants to go further into private, confidential
  15        about relevant matters.                                           15      conversations between the Ruler and Mr Page, then that
  16    MR TOMLINSON: With great respect to my friend, these are              16      is not an appropriate matter to be dealt with in open
  17        wholly bad points.   The position is that this RAK                17      court because one simply doesn't know where that goes
  18        project update which he talks about a lot. doesn't                18      and how that relates to the Ruler's private affairs .     It
  19        feature in his pleaded case and it's a matter that                19      doesn't matter whether it· s the Ruler.   It would be the
  20        hasn't been dealt with in evidence because it didn't              20      same if it was anybody whose private affairs were
  21        appear to be part of the issues before the court at all .         21      discussed with _a confidential agent. The idea that then
  22        He can't criticise me now for not addressing a case               22      they could be explored in open court to see whether
  23        which only first appears in his note of opening and not           23      something relevant comes out, my Lord, can't possibly be
  24        addressed in my evidence. But, my Lord --                         24      right.   The court has -- as your Lordship knows, the
  25    MR LORD: Sorry, no, I'm going to correct that because that            25      court has a duty to protect people's rights to privacy

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    1       Is flatly wrong because Mr Azlma referred to the project           1      under Article 8. The court Is a public authority and
    2       ·update in his evidence. My learned friend successfully            2       it's important that those rights are protected.
    3       had those bits, I think, maybe struck out. I can't                 3          One simply doesn't know exactly what's being
    4       remember now. But the Ruler of Ras Al Khalmah deals                4      adverted to here. I'm perfectly happy for it to be
    5       with this document In his evidence, and your Lordship              5      explored and If it turns out to be relevant to some
    6       should go to that because my learned friend's case Is              6       issue in the case, of course It must be dealt with. But
    7       that this is really the first time that it· s really               7      as a general piece of exploration, it· s not right just
    8       arising In this case and that's - -                                8       to go Into it on the off-chance it might be.
    9   MR TOMLINSON: No, it's not my case it's the first time it              9   JUDGE LENON: No, but you would presumably accept that the
   10       arises, but you can't criticise me for not dealing with           10       nature of any mandate that the Ruler gave to Mr Page is
   11       something in evidence when it's not part of the pleaded           11      of relevance?
   12       case.   The fact that It's referred to in witness                 12   MR TOMLINSON: The nature of any mandate, my Lord, yes, but
   13       statements subsequently -- my friend actually amended             13       what concerns me is that the question then goes into the
   14       his pleadings to deal with certain matters that were              14       details of the mandate and what the Ruler said and,
   15       dealt with In disclosure, and If he wanted to deal with           15      you know, what information he provided and so on.
   16       this, he could have amended his pleadings to deal with            16       Certainly the general nature of the mandate I think must
   17        it . He choses not to.                                           17       be -- I accept that, and I think Mr Page was actually
   18   JUDGE LENON: Yes, but presumably that's partly because he             18       about to volunteer it at one point.
   19       didn't know who wrote it.                                         19   A. My Lord --
   20   MR TOMLINSON: Well, my Lord, if this was relied on as                 20   MR LORD: I'm in your Lordship's hands. I am going to .want
   21       a document, he doesn't actually have a pleaded case               21       to pursue the dealings that Mr Page had with the Ruler
   22       about Mr Page's role either.     The position is If this          22       and obviously matters that relate to this project report
   23       Is - - this Is a document which we know refers to                 23       that we've had which appear to refer back to earlier
   24       Mr Azima. He could have had a pleaded case that this              24       work and engagements concerning Mr Azlma, which is what
   25       was -- some inferences could therefore be drawn from              25       this case is about.

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    1   A. My Lord, I am prepared to answer certain questions, but               1   A. Yes, my Lord. His Highness' instructions were --
    2       they will be vague and I think that's the best I can                 2        His Highness' information was that a member of his
    3       help the learned counsel here -- and I'm happy to answer             3        family was working with Khater Massaad in gathering
    4       a question, but without going into too many specifics.               4        information from the Palace and my instructions were to
    5   MR LORD: My Lord, my concern is I'm not going to be held to              5        ascertain whether that was in fact correct, that they
    6       be giving Mr Page any licence to give anything other                 6        were working in collusion . But, my Lord, before I'm
    7       than exactly truthful answers, so I'm not going to agree             7        asked a question, I can say on oath I was never asked --
    8       to that.  If in fact there ' s a staging post here which             8        I never heard the name ofFarhad Azima.
    9       we can go through in writing or otherwise that's                     9   Q. So, Mr Page, you were asked by the Ruler to carry out
  10        sufficient , then I'm more than happy for that approach             10        some sort of surveillance or investigation into what
  11        to happen. I ' m not happy with Mr Page having, if you              11        the Ruler thought was some leak within the Palace?
  12        like , licence , editorial licence, as to how he puts               12   A. No, that's not correct. The request was could
  13        things underthe guise of this alleged confidentiality               13        I establish, because he'd heard a rumour, that
  14        that can't be looked behind.                                        14        Khater Massaad was working with a member of his family
  15    JUDGE LENON: I am going to invite you, Mr Page, to write                15        to the detriment of His Highness and the Government of
  16        down on a piece of paper what it is that you are                    16        Ras Al Khaimah.
  17        concerned about and to do it in as succinct a way as you            17   Q. And so - - we' II come back to what you did in that
  18        can.                                                                18        regard, please, but is that something that - - that was
  19    A. My Lord, may I request I do that in the break for lunch              19        an engagement that was set up simply between you and
  20        because first of all I need to write it and it would be             20        the Ruler; is that right?
  21        much better, if you accepted, my Lord, for me to sit                21   A. That is correct, my Lord.
  22        with the lawyers for the Government and I will write it.            22   Q.   And is your evidence that nobody else knew about that?
  23    MR LORD: I'm sorry, my Lord, but obviously --                           23   A. No one else was present at the meeting and no one else
  24    JUDGE LENON: That's not going to be possible.                           24        knew my mandate.
  25    A. My Lord, then I'm prepared to say certain things which               25   Q. And how long did that mandate last for?

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    1       I think will be helpful to counsel here.        If he wishes         1   A. It's --
    2       to expand on them, then I may have to revert to that.                2   Q.   Still going on?
    3              I think what I will tell him, my Lord, will be                3   A. No -- correction -- it ' s not still going on.     It was
    4       useful to him and I think it answers the concerns he may             4        dealt with in the first report, which is obviously
    5       have.                                                                5        not -- we do not have - - and it was dealt with partly in
    6   MR LORD: My Lord, would it be better to go into private for              6        the second report, the one - - the redacted report we
    7       this initial exploration and then to see whether                     7        have here. Again I'm happy to share, my Lord, that
    8      your Lordship feels , in the light of that, we should                 8        there was no information to suggest that His Highness'
    9       continue in private, go into public or desist with that              9        belief was correct - -
  10        line of questioning at all? I wonder if that would be               10   Q. Right.
  11        a safer way of doing it .     It 's just an offer .                 11   A. - - le that he was working with a member of his family.
  12    JUDGE LENON: Yes, if that's going to be a way through this.             12   Q.   And what sort of investigation work did you do In order
  13    MR TOMLINSON: My Lord, I'm happy to deal with it in that                13        to establish the true position?
  14       way if everybody thinks that's appropriate.            It maybe      14   A. Well, it was to review the previous investigation into
  15        that there's an earlier stage that Mr Page is offering              15        Sheikh - - His Highness, both his family members --
  16        a general explanation, if he gives that general                     16        I nearly gave it away then. I beg your pardon -- and to
  17        explanation and it becomes clear that there's no need to            17        see what was going on and to try to ascertain whether
  18        go any further, then we don't need to go into private.              18        there was a connection, and this report Is partly
  19        If he gives that general explanation and my friend wants            19        prepared In relation to that . And I can take you
  20        to explore further, then we may need to.                            20        through chapter and verse, my Lord, If you want, but It
  21    JUDGE LENON: Let's try that.      I'm anxious not to delay              21        is the fact that we knew from previous intelligence
  22       matters too much with this. Let's see if we can get by               22        people who had worked for Sheikh Khalid in relation to
  23       without - -                                                          23        the bad - - the negative PR campaign that he launched
  24    MR LORD: Very well, my Lord. Very well.                                 24        against His Highness when he was the Crown Prince and
  25            Mr Page, you were going to explain the sensitivity .            25        therefore we explored that evidence as a possibility of

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   1         the -- where we might find a link through                       1         illegal access of Mr Azima's data, didn't you?
   2         His Highness -- sorry, that Khater Massaad was working          2    A.   I do.
   3         with parties against the Ruler.                                 3    Q. And you're here giving evidence in a written statement
   4    Q. Sorry, was the concern of the Ruler that somebody in               4        about the extent of your engagement by RAK or RAKIA,
   5         the - - somebody within his family was working with              5        aren't you?
   6         Dr Massaad or was it the fact of Dr Massaad's alleged            6   A. I am, yes.
   7         campaign? I· m not sure what the concern was.                    7   Q.   And if you put together paragraph 12 and paragraph 13,
   8    A.   It was that they were working, my Lord, together for             8        you are claiming, aren't you, that you did not come
   9         whatever reason -- I have no reason why -- that they             9        across the name Farhad Azima until early 2016?
  10         were working together for the purposes of destabilising         10   A. That is correct, my Lord.
  11         or causing harm to His Highness.                                11   Q.   If we go to the one surviving project update at
  12    Q. And as part of that engagement you looked at Mr Azima?            12        [H7 /299), you can see at pages (H7 /299/2-4) that there
  13    A. That is not correct.                                              13        are three pages of this report - - it looks like it 's
  14    Q. So at [H7 /299) of your report, you say:                          14        17 pages. So three of the 17 pages concern matters
  15              "FA and the US Advisory Team.                              15        involving Mr Azima, don't they?
  16              "In continuation to our previous report , we were          16   A. That is correct.
  17         informed by several new sources that FA is managing KM's        17   Q. So, Mr Page, can you explain to his Lordship why you put
  18         efforts in the US and perhaps even paying their bills ."        18        in a witness statement and signed it and verified it to
  19    A. That is correct, but I was never mandated by                      19        be true back in June 2019whereyousaid this:
  20         His Highness to investigate then, subsequently,                 20            "During this period in 2015 when I was undertaking
  21         Farhad Azima.                                                   21        the investigations described above in relation to
  22    Q. Can I ask you, please , about the scope of the retainer?          22        Khater Massaad, I did not come across the name
  23         Go back to paragraph 12 of your witness statement,              23        Farhad Azima. The first time I recall hearing his name
  24         please.   (D/3/4).                                              24        was In early 2016 at one of my regular catch ups with
  25    A. Yes.                                                              25        Jamie."

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    1   Q. Can you see what you say in paragraph 12 about the scope           1   A. That Is correct, my Lord.
    2        of your retainer pursuant to this specific mandate?              2   Q. Can you tell his Lordship why, when we've seen that in
    3   A. I do, my Lord.                                                     3        March 2015 you have prepared a report which discusses
    4   Q. "Jamie said that he was involved in investigating                  4        Mr Azima's alleged management of Dr Massaad's US team in
    5        wrongdoing by Khater Massaad and the misappropriation of         5        the context of a concern about Dr Massaad's strategy
    6        assets . He wanted my assistance in tracing assets,              6        that leads on to discussion of intelligence -gathering
    7         investigating Khater Massaad's involvement with Iran,           7        and monitoring activities and containing and ruining
    8        his links to Hezbollah and Lebanon and his relationship          8        plans -- how could you possibly put In evidence what you
    9        with Viktor Bout ... I understood my engagement to be            9        said in paragraph 13? What's the explanation for it,
  10         for the government generally but I did not know which           10        Mr Page?
  11          specific government entity. There was no letter of             11   A.   It's very simple, myLord. FarhadAzimawasjust -- was
  12         engagement ..."                                                 12        a side issue in this report.   There were matters I was
  13              Can you see that?                                          13         investigating across the globe, including, as I have
  14    A. Yes, I can, my Lord.                                              14        said, Lebanon, Iran, Hezbollah, arms trafficking, people
  15    Q. Then, "Knowledge ofFarhad Azima", paragraph 13:                   15         trafficking , and his name at the time I wrote that
  16              "During this period in 2015 when I was undertaking         16        statement no more than perhaps some of the other 20, 30,
  17         the investigations described above In relation to               17        40 names that we came across in the course of this
  18         Khater Massaad, I did not come across the name                  18         investigation rang a bell to me, and, my Lord, that is
  19         Farhad Azima. The first time I recall hearing his name          19        my evidence. Plus, my Lord, as I explained, in June of
  20         was in early 2016 at one of my regular catch ups with           20        2019 there were certain things going on in my personal
  21         Jamie."                                                         21         life which affected my ability to remember events that
  22              Now, Mr Page, you knew when you gave this witness          22        occurred as far back as - - sorry -- as 2015, four years,
  23         statement that It was in relation to a dispute between          23        and if my Lord wishes me to expand on what those Issues
  24         RAKIA and Mr Azlma about whether -- amongst other               24        were, I'm more than happy to do so.
  25         things, about whether RAKIA had been Involved in the            25   Q. No, thank you, MrPage. Could you go, please, to

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   1         paragraph 7 at (D/3/3)?                                         1             I would then present him with a verbal briefing and
   2    A. Are you talking about my statement or --                          2         he would not even look sometimes at the reports, but
   3    Q. Yes, please, MrPage. I wantto just finish this                    3         sometimes he would read an executive summary, and I mean
   4         matter, if you don't mind. I ' mawareofthe time.                4         an executive summary, because it is the custom, my Lord,
   5         Thank you.                                                      5         that in the Middle East you are very lucky , no matter
   6            In paragraph 7 of your witness statement you say             6         what it relates to, if they will read more than one
   7         this in the last sentence:                                      7         page.
   8             "I don't keep contemporaneous documents and my               8            What His Highness did subsequently with the verbal
   9         briefings to clients are invariably oral, especially in          9        briefings and if I· d given him a written report I cannot
  10         the Middle East where this is very normal."                     10        comment on, but I know until this day that the culture
  11             Now, Mr Page, I wasn't sure this morning whether you        11        is a verbal briefing. They prefer it because they like
  12         were clarifying this bit of your witness statement as           12        to hearwhatyou're saying. And I'm sorry, myLord, if
  13         well.   What's the answer?                                      13        it goes against protocol that people understand, but
  14    A. I'm sorry, my Lord, I still don't understand that                 14        that is an experience I have learned since 1995. So I'm
  15       question.                                                         15        a - - long standing practitioner In the Middle East.
  16    Q. Where you say in this paragraph 7 that your briefings to          16   MR LORD: Would that be a convenient point, my Lord?
  17         clients are invariably oral, that means that your client        17   MR TOMLINSON: Mr Page, you're in the middle of your
  18         briefings are always oral, doesn't it?                          18        evidence so you know you mustn't talk to anybody about
  19    A. No, not always oral, my Lord. My Lord, the one thing              19        your evidence until you have concluded?
  20         I learnt, having worked in Saudi Arabia for three years,        20   A. I understand.
  21         was a knowledge of the Middle Eastern culture and, with         21   (1.04 pm)
  22         the greatest of respect to counsel, it is a quite unique        22                      (The luncheon adjournment)
  23         learning experience. Even to this day, my Lord, I will          23   (2.00 pm)
  24         go before a client from the Middle East who will read           24   MR LORD: May it please your Lordship, Mr Page, I was asking
  25         more -- less than one page. So, therefore - - you're            25        you about your witness statement In which you said that

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    1        saying "Verbal briefings?" My Lord, the answer to that           1        you invariably briefed clients orally . Do you remember?
    2        question Is "Yes, verbal briefings ".                            2   A. That is correct.
    3   Q. Mr Page, you're not answering the question.     What you           3   Q. And I was putting to you that that was untruthful
    4        were telling the court In this witness statement at              4        because we know at least in this case that you provided
    5        paragraph 7 was that you always briefed clients                  5        many written project updates, didn't you?
    6         especially in the Middle East.                                  6   A. Yes, that is correct, in addition to verbal updates.
    7   A. Well --                                                            7   Q. In addition to your oral updates, yes.      And Mr Buchanan
    8   Q. Sorry, Mr Page. Sorry, Mr Page. The word "invariably"              8        gave evidence that you updated about every month; would
    9        means "without exception".                                       9      that be right?
   10   A. Well --                                                           10   A. Every month, six weeks, depending on when His Highness
   11   Q.   You shrug. Sorry, Mr Page --                                    11        wanted to see me.
   12   A. No, I beg your pardon. Sorry.                                     12   Q.   Yes. And Mr Buchanan estimated that probably roughly at
   13   Q.   Did you know what "invariably" means?                           13         least half of the time there would be a written update
   14   A. Well, I think I do, but perhaps that was a misleading             14        from you.
   15         line In my statement.                                          15   A. That is correct, my Lord.
   16   Q. So what do you think it means? It means always, except            16   Q.    It's right. lsn' t it , that you still work for RAK or
   17         for the 27 written reports in this case that you made?         17         RAKIA?
   18         Is that what you meant to say?                                 18   A. That is correct, my Lord.
   19    A. My Lord, I would go before His Highness and I would have         19   Q. And so, since the beginning of 2015, you'd have provided
   20         an audience of perhaps 30 minutes. The first 15 minutes        20         probably something in the region of 30 written project
   21         of that audience, because His Highness Is extremely            21         updates, wouldn't you?
   22         knowledgeable about world affairs, will be discussing          22   A. I think that the number has diminished over the last
   23         with me -- who he thinks I• m also quite knowledgeable         23         12 months, but you may be right, my Lord. It may be 30.
   24         about issues In the Middle East - - affairs of the             24         I cannot recall exactly .
   25         Middle East.                                                   25   Q. By it's going to be in the order of around 25 to

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   1       30 reports in writing?                                            1         "electronic ", you mean open source information on the
   2    A. That is possible . I can't -- you know, I can't remember          2         internet?
   3       exactly how many I did.                                           3    Q. I mean of any source.
   4    Q. Mr Buchanan gave evidence that all the reports were in            4    A. Well, they were -- yes, they were using the dark web,
   5       the same format; that· s right, isn · t it?                        5        open source information on the internet.   That was the
   6    A. Yes.                                                               6        limit to what they were doing.
   7    Q. And how were the reports prepared? Did you type them               7   Q. And they could have been unlawfully accessing electronic
   8        all up yourself or were others involved?                          8        information for all you knew, Mr Page, couldn't they?
   9    A. No, others involved.                                               9   A. Absolutely not.
  10    Q. Who was involved?                                                 10   Q. How do you know what they did?
  11    A. The agent that I employed to assist me In this complex            11   A. Because my instructions from Mr Buchanan -- and not
  12        investigation .                                                  12        simply his instructions - - it is my principle that no
  13    Q. And who's that?                                                   13        information that is recovered must be obtained by
  14    A. It· s a company in the State of Israel .                          14        illegal means, and to hack is illegal .
  15    Q. Pardon?                                                           15   Q. You see, Mr Page, I suggest that we may be getting a bit
  16    A. A company in the state of Israel .                                16        warmer here on how Mr Azima's data came to end up on the
  17    Q. What's the name of that?                                          17        internet.
  18    A. Insight .                                                         18            Can you tell his Lordship a bit more about Insight?
  19    Q. And that's a company -- that· s an Israeli company, is            19          think you said people work for them who used to be the
  20        it?                                                              20        equivalent of the Israeli MIS; is that right?
  21    A. That is an Israeli company, yes.                                  21   A. Well, they have a number of people in their employment,
  22    Q. And what do they specialise in?                                   22        either who serve in the IDF - - you understand what the
  23    A. Well, the founder of the company is the former head of            23        IDF is. my Lord? Israeli Defence Force. The Israeli
  24        the Lebanese desk of Shin Bet and Shin Bet is the                24        Defence Force has a specialist unit that collates
  25        Israeli equivalent of MIS.                                       25         intelligence . military intelligence . So they are

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    1   Q. Right .                                                            1         specialists from the IDF, from Mossad, from Shin Bet.
    2   A. So they specialise in collating information,                       2        There are lawyers, there are accountants, because we
    3       particularly in the Middle East. They obviously                   3        were analysing a lot of Information from public sources
    4       specialise in collating information on Iran, on                   4        which was financial information.
    5       Hezbollah, on Lebanon, and they were the - - the                  5   Q.   Insight would have the capability . wouldn't they, to
    6       expression I use, my Lord, is the "think tank".                   6        access Mr Azima's emails if they'd wanted to?
    7   Q. So would it be fair to say, Mr Page, that in relation to           7   A. No, I have no knowledge whether they do that type of
    8       the matters covered by your project updates, you had in           8        work.
    9       fact subcontracted at least some of that work to this             9   Q. But given the high-powered natured of the people at
   10        Israeli company called Insight?                                 10        Insight you've described, their expertise would extend,
  11    A. That is correct.                                                  11        wouldn't it , into that sort of covert operation?
  12    Q. And they were, amongst other things,                              12   A. Not to my knowledge.
   13      Intelligence -gathering specialists ?                             13   Q. I suggest, Mr Page, that that· s not a truthful answer.
   14   A. They were specialists at obtaining information from               14   A. Well, my Lord, I can only express to you the mandate
   15       confidential sources and, my Lord, the important thing           15        they received from me on behalf of the Government of RAK
   16       was to analyse a significant amount of data being                16        was to use their intelligence community contacts to
   17       recovered from multiple Jurisdictions and                        17         deliver information or provide information regarding
   18       cross- referencing it , seeing really how it related to          18        Dr Massaad and his associations as outlined in my
   19       KhaterMassaadandhislinks. So, in answer,myshort                  19        witness statement.
   20       answer is, yes, they were the conduit to receive all the         20    Q. And that would include - - and it was thought, wasn't it ,
   21       information from my other subcontractors.                        21         that Dr Massaad's associate included Mr Azima?
   22   Q. And they were really - - they were the people, were they,         22   A. Absolutely not. My Lord, the report of 26 May-·
   23       who you enlisted to carry out some of this electronic            23        Farhad Azlma's name came out -- completely out of the
   24       data-gathering?                                                  24        blue.   It was not part of our mandate to look at
   25   A. By which you mean electronic - · I don't understand. By           25         Farhad Azima. This Information came from a confidential

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   1         source. The confidential source was not even given --           1         a protocol - - a new protocol.   It was a protocol that
   2         because we weren't instructed to look at Farhad Azima.          2         I -- that was commenced as far back as 2008/2010, when
   3         He provided what he heard in the marketplace, if that's          3        I was working against Sheikh Khalid.
   4         the expression, my Lord.                                        4    Q.   I suggest, Mr Page, that you didn't forget about these
   5    Q. Were there some written instructions or documents that             5        30 or so written reports when you gave your witness
   6         recorded your retainer of Insight in relation to these           6        statement. You would have known about those written
   7         matters?                                                         7        reports, I suggest to you.
   8    A. No.                                                                8   A. But, my Lord, I t hought we dealt with the fact that
    9 Q. Whynot?                                                              9        I don't actually recall how many reports there were.
  10 A. Because that's not how -- my Lord, I work in a very                  10        I don't have any reports because, on the instructions of
  11     strange world, without sounding over-dramatic.                      11        His Highness -- if I may I step back. As early
  12     I neither trust telephones, nor I do trust the email, so            12        as January 2015 His Highness expressed to me his
  13     any briefings that they received from me would have been            13        concerns that his pa.lace and other government
  14     face to face .                                                      14        organisations had been compromised. By "compromised",
  15 Q. And how were they paid?                                              15        my Lord, I mean information had been obtained illegally
  16 A. By bank transfer.                                                    16        from within his organisation.
  1 7 Q. From whom?                                                          17            In my report there's a reference to someone called
  18 A. From my company in the Middle East.                                  18        Joseph Abu. That is not Joseph Aboud. It is
  19 Q. And how much did you pay them in 2015?                               19        Joseph Assad, who is a former CIA agent attached to the
  2 0 A. Without access to my records, I have no recollection .              20        US Embassy in Abu Dhabi who ran a company in Abu Dhabi.
  21     It's dealt with by my finance director.                             21        So, you know, we had good reason to believe that Joseph
  2 2 Q. Roughly how much?                                                   22        Assad was running a campaign. We had no evidence, but
  2 3 A. In the whole of 2015?                                               23        we believe he was.
  24 Q. Yes. Millions?                                                       24            So His Highness' concern about his information being
  2 5 A. In relation to Khater Massaad or in relation to other               25        compromised were well founded and on that basis

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    1        matters instructed to me by His Highness? There were             1          created a form of protocol.    And also, my Lord, it
    2        other matters which -- again I have the same problem.            2        should be remembered, we are talking about investigating
    3   Q. Did His Highness -- did the Ruler know that you were               3        links to Iran.     This is a government agency that has
    4         essentially acting as a bridgehead into Insight?   It           4        enormous capability to access information.    So, with
    5        sounds like he probably did.                                     5        respect , my Lord, why it might seem a bit bizarre, it
    6   A. I'm sorry, my Lord, I don't understand the question.               6        may seem a bit fanciful , I live in the world populated
    7   Q.   Did His Highness know that when he asked you to carry            7        by former spooks -- I beg your pardon, former
    8        out various tasks, you were actually retaining this              8         intelligence agents and we take drastic measures to
    9         Israeli operation called Insight to carry them out?             9        protect not only the information, but the people engaged
   10   A. My Lord, there's no secret that I operate in the                  10        in gathering the information.
   11        State of Israel and it is no secret, my Lord --                 11   Q. And I suggest that you lied in your witness statement
   12   Q.   What's the answer to the question?                              12        about the way In which you report only orally .
   13   A. Well, I would not have told him, nor would he have asked          13   A. I don't think, my Lord, I was intending to lie.       It may
   14        me the question.                                                14        have been misleading, for which I apologise to the
   15   Q.   But it sounds as if what you may have been doing,               15        court, but, as I told you, at the time I prepared that
   16        Mr Page, is acting as something of a go-between, really         16        witness statement there were issues in my life which
   17        hooking up the Ruler's wishes with what sounds like             17        were causing me considerable distress and to this day
   18        a very effective Israeli intelligence -gathering and            18         that continues.
   19         surveillance operation.                                        19   Q. And you did that In order to avoid - - and you omitted to
   20   A. Absolutely not.      They were just one of a number of            20         make any mention of the project updates in your report,
   21        subcontractors that I used.                                     21         didn't you, the written project updates?
   22   Q. Presumably Insight would have copies of the project               22   A. Because, my Lord, we're talking about something that
   23        updates that they prepared for you, wouldn't they?              23         happened five years ago, and in the last five years
   24   A. They have exactly the same protocol that I adopted when           24         I have had my 19-year-old son committed to a mental
   25        we commenced this project. In fact it is not                    25         health hospital on numerous occasions, I have had my son

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   1        assault me, I have had my wife have a stroke, and, in          1         come to, Mr Page -- we are going to come to that -- and
   2        fairness , my mind was not focused on trying to remember        2        don't - - remember that there are three and a half pages
   3        back to 2014, and to this day my son is in a mental             3        concerning Mr Azima -- right? - - before you answer the
   4        health hospital. So, with respect, my Lord, what                4        question I put to you. I think you said that you didn't
   5        counsel is suggesting, that I sought to mislead your            5        look at Mr Azima at all in 2015, so be very careful
   6        court, is absolutely not true.                                  6        because you're on oath now, Mr Page.
   7   Q.   And you did so in order to seek to avoid being                  7   A. Yes, I appreciate I'm on oath and I've already mentioned
   8        identified as the author or as the producer of the only         8        that, when I prepared my statement in June of 2019,
   9        surviving version of your project update, dated                 9        I could not recall the name ofFarhad Azima because this
  10        26March2015. That's whyyoutold those lies --                   10        was a massively complex investigation involving many,
  11   A. Absolutely not, my Lord. My Lord, my name was disclosed          11        many people, and if Farhad Azima had been -- I think, my
  12        in the discovery proceedings prior to this trial . Why         12        Lord, I have a fairly retentive memory. If Farhad Azima
  13        would I seek to hide behind the fact that I would have         13        had been the focus of my investigation I would have
  14        been the author of this report?                                14        remembered. The answer is he was not and never was and
  15   Q. And you did that, you lied , Mr Page, because the March          15        to this day is.
  16        project update showed that you, Mr Page, were                  16   Q. Could we turn to what Mr Page you actually were doing in
  17        investigating , amongst other people, Mr Farhad Azima?         17        2015 in relation to Mr Azima?
  18   A. Absolutely not.                                                  18   A. I'm sorry, you're talking about the paragraph 15 again?
  19   Q. And because that one surviving project update showed             19   Q.   No, I'm going to ask you if you could try to call upon
  20        that you were investigating the human rights campaign on       20        your retentive memory to help with what you were
  21        behalf of the Ruler?                                           21        actually doing in 2015 as it may have concerned
  22   A. The human rights campaign?                                       22        Mr Azima; all right, Mr Page? That's what I'm looking
  23   Q. Sorry, the concern about a campaign being mounted of the         23        at now; all right?     It doesn't matter whether you're
  24        sort we see described in the March project update.             24        looking at Mr Azima by himself or as part of
  25   A. My Lord, the campaign that we foresaw or what we think           25        Dr Massaad's team allegedly or as part of a campaigning

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   1        was going to happen is no different to the campaign that        1        group or for some wider very, very confidential
   2        was mounted by Sheikh Khalid to embarrass His Highness.         2        sensitive reason. Just think about, Mr Page, the extent
   3        So our answer -- our emphasis was what is the nature of         3        to which Mr Azima was the subject - - double underline --
   4        the complaint and what they intended to do with it , and,       4        of your, Mr Page's, attention in 2015. Do you
   5        as I said in my evidence, earlier evidence, my brief            5        understand that, Mr Page?
   6        was: was Dr Khater Massaad working with a member of             6   A. I understand the question, my Lord.
   7        His Highness' family? And this is a follow -on from that        7   Q. Right.    Well, let's try , shall we, to tell his Lordship
   8        investigation .                                                 8        truthfully now on oath what you actually did in relation
   9   Q.   And you lied because the March project update showed            9        to looking at Mr Azima in 2015?
  10        that you had been investigating , amongst others,              10   A. My Lord, if I may -- my Lord, if I may -- I find this
  11        Mr Azima from as early as March 2015?                          11         slightly offensive.   I am a former police officer .
  12   A. My Lord, with respect, I've answered that question.              12        I left the police with an exemplary conduct certificate .
  13        Absolutely not.   I was never mandated to or instructed        13        I joined the police to uphold the rule on law and order.
  14        to, then or now, investigate Farhad Azima.                     14        And to propose that I'm lying on oath, I find, my Lord,
  15   Q. And in paragraphs 12 to 15 of your witness statement             15        very offensive because I do not lie on oath.
  16      (D/3/4-5} you gave an untruthful account of your                 16        I understand the oath and I continue to uphold the
  17        Farhad Azima-related work in 2015, didn't you?                 17        values that I had when I was a police officer . So the
  18   A. Would you mind if I just read it?                                18        answer is to your question, my Lord -- is I did not
  19   Q.   You may.                                                       19        investigate Farhad Azima. The only reference to
  20   A. Paragraph 15?                                                    20        Farhad Azima is in this report dated March 2016, and
  21   Q.   12 to 15. You can read those paragraphs. I'm                   21        this part of the project finished very quickly
  22        suggesting to you that what it does not reveal - -             22        thereafter .
  23   A. No.                                                              23   Q. Can we have the project update up, please, (H7 /299}?
  24   Q.   -- is the full extent to which you were looking at             24        You know.Mr Page, by now that it's dated 26 March 2015.
  25        Mr Azima as shown by the project update, which we will         25        And his Lordship can take it , can he, that this was

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   1         prepared by Insight, this Israeli investigative outfit             1   A. No, it is from confidential sources, from what I would
   2         that you've described today?                                       2        call "covert operations", and by "covert", my Lord, I do
   3    A. That is correct.                                                     3        not mean electronic covert operations; I mean
   4    Q.   Will we find details of Insight and their work on the              4        cultivating a source by means of under-cover operation.
   5         internet?                                                          5        And I don't feel too comfortable giving away all the - -
   6    A. I would think not.                                                   6        I· m happy to expand if you wish, but if you want an
   7    Q. Oh, why not?                                                         7        example, I knew that Khater Massaad -- because I know
   8    A.   Because in our - - in the nature of the business they              8        Khater Massaad personally. I have worked with him for
   9         undertake, we do not - - we don't go on Yellow Pages. We           9        two years, I travelled with him, I socialised with
  10         are a very -- as I am -- a very boutique, respectable             10        him -- so I knew he liked women, just an example -- and
  11         investigation and corporate intelligence agency. So we            11          don't mean his wife, I mean other women.
  12         don't need to put our name on the internet. My name is            12            Now, if I wanted to get information on
  13         on the internet because my group provides security in             13        Khater Massaad, the English thing is to put someone
  14         hostile environments, and the reference to the                    14        beside him to cultivate him in a· way that I don't think
  15         investigation division , which is in my witness                   15        I need to explain, myLord. And that's howit works.
  16         statement, is a minute part of the work that I do for             16        And it's bizarre, I know, and, my Lord, I'm sure it's
  17         governments in hostile environments.                              17        bizarre to this court, but the world in which I live in
  18    Q. So how would somebody get to know about Insight's work,             18        is populated by former intelligence services, officers ,
  19         then?                                                             19        and they're the skill sets to this day that are
  20    A. Right.     Okay. So 2005, my Lord, I am providing security          20        converted into the commercial world.
  21         support to the European C_ommission aid mission to the            21   Q.   It would also include, wouldn't it - - your particular
  22         Palestinian people, which is in Jerusalem. I am the               22        knack of getting confidential information, that would
  23         only foreign company to be given a licence in Israel to           23        extend to paying people, wouldn't it, Mr Page?
  24         carry weapons, which is part of the requirement to                24   A. The payment may be no more than a lunch.
  25         protect the diplomats of the European Commission.                 25   Q. But it would include paying people for information,

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    1                also have a licence in Palestine , which is very           1        wouldn't it, Mr Page?
    2        rare, because I have to work both sides of the divide.             2   A.   Potentially , yes.
    3        To perform the service that I need to provide to my                3   Q. Paying people to get confidential information; yes?
    4        clients , I need to gather intelligence from the                   4   A. Absolutely not.
    5        Palestinian Authority and from the Israeli authorities ,           5   Q. Can you look at {H7 /299/2), please, which is the project
    6        and that puts me into contact, my Lord, with people from           6        report.
    7        the Israeli intelligence service .                                 7   A. Right, yes.
    8            So, as will be my evidence when it comes to                    8   Q. "In the US, KM's team hired a team of advisers managing
    9        Mr Halabi, I have numerous connections within the --               9        Farhad Azima ... in order to spread allegations against
  10         both the Palestinian Authority intelligence service and           10        our client . The main allegations against the client are
  11         the Israeli intelligence service, and when I was seeking          11        on human rights issues
  12         a company to help me on this project, that's how I came           12              Can you see that?
  13         across this company.                                              13   A. Yes .
  14    Q. And why, in a case concerning Dr Khater Massaad and the             14   Q. "FA, who might also be responsible for paying the
  15         UAE, did you think to - - that actually an Israeli                15        US team, handles all KM's activities in the US.''
  16          investigative outfit would be the right people to help           16              Can you see that?
  17         you?                                                              17   A. Yes.
  18    A. My Lord, the allegations against Khater Massaad were                18   Q.   Then a bit further on down it says:
  19         links to Iran, links to Hezbollah, which is in Southern           19              "According to our source, FA also hired a private
  20         Lebanon. Who better -- who has more knowledge oflran              20        investigator ...''
  21         and Hezbollah and Lebanon than the Israelis? Certainly            21              Now, who was your source?
  22         not British intelligence .                                        22   A.   It's not my source.
  23    Q. And is your evidence that you thought that none of                  23   Q. Well, who is the source you're talking about there?
  24         Insight's Information-gathering would be through illicit          24   A. Well, I actually don't know who the source is.
  25         obtaining of electronic material, none of it at all?              25   Q.   Oh, I see. So this is an Insight source and you don't

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   1       know who they're referring to?                                   1          on the Sheikh Khalid case. That's how we got from this
   2    A. My Lord, how it works is that everybody within my                2          quantum leap of finding someone who might be Involved in
   3       industry is over-protective with sources, for one of two         3          working with Khater Massaad against His Highness.
   4       reasons: to disclose the source, they put the source at          4    Q. Mr Page, you didn't actually know, did you, the way in
   5        risk and no one in our industry gives up the source              5         which Insight were going about getting information or
   6       unless asked to do, and I did not ask my colleagues to            6         intelligence for you and the Ruler, did you?
   7        give up their source. I believe that this information            7   A. Yes, I did.
    8       that they had obtained from the source and the                   8   Q. You weren't involved in the actual
    9       information I have asked them, the source, was over              9         intelligence -gathering itself , were you?
  10        a series of meetings over lunch.                                10   A. My Lord, I have 40 years in this industry.      I know when
  11    Q. And then the last paragraph:                                     11         information that has been provided to me has come from
  12            "Our sources have reported that KM's team suspects          12         an illegal source. This was clearly and unequivocally
  13        that they have an information leak since they notked            13         information obtained from covert sources.
  14        some of RAK's actions In the last few months. They              14             Now, if they used a pretext, le met someone
  15        believe that the client is having someone monitor their         15         pretending to be a journalist , I have no idea, but what
  16        activities either electronically or in other methods."          16         I do know is that they were never authorised or mandated
  17            Now stopping there, Mr Page, do you know who the            17         or did anything illegal .
  18        "sources" - - plural -- are who are referred to there?          18   Q. Well, I suggest, Mr Page, that you would have known that
  19    A. I have absolutely no idea, my Lord.                              19         Insight would potentially carry out hacking or illegal
  20    Q. And therefore -- well, in going on, they say:                    20         accessing of electronic data.
  21             "... have reported that KM's team suspects that they       21   A. Absolutely not.
   22       have an Information leak."                                      22   Q.    And when it says here, "Our sources have reported that
   23   A. I can't comment on why he says that. But, my Lord, if            23         KM's team suspects ... an information leak ... They
   24       this information been obtained in an illegal way, I am          24         believe that the client is having someone monitor their
   25       lost as to know how we got Joseph Assad's name wrong in         25          activities either electronically or in other methods",

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    1       the report because he's called "Joseph Aboud". His name          1         they were right, weren't they, to be suspicious In that
    2       is not "Joseph Aboud".                                           2      way?
    3   Q. Mr Page, you're in no position to say to his Lordship             3   A. No, because the timeline does not work --
    4       whether Insight did or didn't use illegal means to               4   Q. Then if we go to (H7 /299/3) --
    5       obtain information that fed into these project updates           5   A. My Lord, may I just finish that answer? Sorry. The
    6       of yours.                                                        6          timeline does not work. I was not mandated until
    7   A. I am, my Lord, in a position.                                     7         January of 2015, okay? The report stated March 2015.
    8   Q. How?                                                              8          They were not mandated to go after - - sorry, to put It
    9   A. Because, my Lord, I said in evidence previously that              9          in the timeline, what you're saying is that their team
   10       Insight were mandated by me and were told that we must          10          are saying that they were subject to electronic
   11       not break the law because the information that we may be        11          interception.
   12       producing for the client may be the subject of legal            12              Now, the worrying part for my client in this report
   13       proceedings and, therefore, cannot be tainted by any            13          is , if you look at Joseph Assad -- and I apologise, my
   14        possibility of illegality .                                    14          Lord, to go on - - it refers to Joseph Aboud, AKA
   15           Now, if you ask me, my Lord, if approaching someone         15          Joseph Assad, being an expert in SIGINT, and for the
   16       under pretext, cultivating them, talking to them, is            16          benefit of my Lord, "SIGINT" ls spook language for
   17        illegal , I think it's probably questionable, but it Is        17          "hacking".
   18       not illegal activity .     If someone volunteers -- if the      18              So the concerns that my client had raised about
   19       former mistress of Khater Massaad volunteers information        19          information being leaked from his palace was well
   20        to me about him, I'm not sure where the duty of                20          founded because Joseph Assad ls a known specialist in
   21        confidentiality lies .    It's as simple as that. And in       21          that field from his CIA days.
   22      . this case the source knew various people named in this         22    Q.    If we go to (H7 /299/3), please, heading, "KM efforts
   23        report and heard through the grapevine that a campaign         23          against the client .
   24       was about to be launched against His Highness, and it 's        24              "FA and the US Advisory Team."
   25        the same source that actually was against His Highness         25              Can you see that?

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   1    A. Yes.                                                               1          others.
   2    Q. "In [consideration] to our previous report, we were                2    A. No.
   3          informed by several new sources    "                            3    Q.    And advisers are likely to be agents, aren't they, owing
   4              Can you see that?                                           4          a duty of confidence to their principal?
   5    A. Yes.                                                               5    A. To my knowledge, this information that's contained in
   6    Q. What were those new sources?                                        6         this report was provided by someone who had had a lunch,
   7    A. My Lord, I 've no idea.                                             7         a social gathering, with somebody else within this team,
    8   Q. And it reads on:                                                    8         and · · pardon my expression, my Lord ·· had spilled the
    9             "At the moment, KM's strategy in the US is to spread         9         beans. We didn't ·· we Just wanted to ascertain what··
  10          human rights violations allegations against the client .''      10         if there was any substance to what His Highness
  11              Can you see that?                                           11         believed, that Khater Massaad was working with
  12    A. Yes.                                                               12         a relative of His Highness to create damage and harm to
  13    Q. Then a bit further on down it says:                                13         his reputation.
  14              "According to our sources, KM's US lawyer,                  14   Q.    It's likely , isn't it, that a plan or strategy of
  15          Kirby Behre ... hired a consultant ...''                        15         Dr Massaad's in relation to, for example, to some human
  16              What are the sources that are being referred to             16         rights concerns or campaign, that Is likely to have been
  17          there, Mr Page, can you tell his Lordship?                      17         confidential to Dr Massaad, isn't it · · likely to be?
  18    A. My Lord, I can't answer the question. I have never                 18   A. No, because I'm sure that on the internet there's
  19          asked, nor would I ask, unless I had reason to ask, "Who        19         a thing called, I think · · well, Amnesty International
  20          actually are you talking to?", because, as I explained          20         certainly , but Banged Up in Dubai talk about numerous
  21          in my previous evidence, I don't • · no one gives up            21         human rights abuses in the UAE. So the fact that
  22          a confidential source unless required to by law.                22         Khater Massaad was privy to allegedly human rights
  23          A source is a source, and you don't · · because you may         23         abuses is probably something that's reported In open
  24          have a source that is in a very difficult position, and         24         source, I would believe.
  25           if they are to disclose to a third party who that source       25   Q. How do you think, Mr Page, that Dr Massaad's team came

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    1         is, you may end up compromising your source.                     1         to suspect that there was an information leak? What did
    2             So, for example, my Lord, during the investigation           2         you understand to be the reason that, if you like · ·
    3         of Khater Massaad I had a source within Lebanese                 3   A. My Lord, it's very simple. As I said, His Highness had
    4          intelligence . He was sharing information that he was           4         good reason to believe that his Information had been
    5          getting from Lebanese intelligence • · because it was           5         compromised, so, therefore, It follows that they may
    6         a quid pro quo. I was giving him information, he was             6         have • · somebody may have conducted a covert operation
    7          giving me.                                                      7          into His Highness' palace, the RAK prosecutor's office ,
    8               If I were to give up the source, bearing in mind we        8         which was fed back to Khater Massaad.
    9         are talking about links to Hezbollah, there is a good            9              Now, my Lord, I can tell you that to this day or · ·
   10          possibility that my source may actually suffer physical        10         sorry · • that there's certainly • • during the course of
   11         harm, so therefore I am•· as my colleagues are · · I am         11          my investigation into Khater Massaad, it is clear that
   12          overprotective of my sources. And it's well founded and        12          Khater Massaad maintains contacts within Ras Al Khaimah
   13          it 's something that has been drilled into me and              13          that is feeding in information and we're getting that
   14          disciplined in me since I've been in this industry for         14          from human intelligence sources.
   15          a number of years.                                             15              So, myLord, I'm trying to make the point is we were
   16    Q.    It's right, isn't it , Mr Page, that information               16          well founded In our belief that there's · · something was
   17          concerning Mr Azima's alleged management ofMassaad's           17          really amiss within the security of the Palace and the
   18          team in the US, including as to the advisers that were         18          RAK prosecutor's office and perhaps in RAKIA. I'm just
   19          working for the team, was likely to be confidential            19          repeating what I said previously.
   20          information?                                                   20    Q.    Could you go to page 16 of this document, please
   21    A. No.                                                               21          (H7 /299/16), which Is the summary. It's the summary:
   22    Q. And what's been described here, I suggest, Mr Page, is            22              "As we reported above     "
   23          the procurement on behalf of · · the procurement as part       23              Can you see that?
   24          of this project of confidential information · ·                24    A. Yes.
   25          information confidential to Dr Massaad or Mr Azima or          25    Q. You're reporting here, aren't you, for the benefit of

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    1        the Ruler and for RAK, basically, aren't you?                     1        would be guilty of a very serious criminal offence in
    2   A. Yes.                                                                2        UAE.
    3   Q.   And that would include RAKIA?                                     3   Q. What would happen to them?
    4   A. Correct.                                                            4   A. I have no idea .
    5   Q. You say this:                                                       5   Q.   There's an ominous tone there when you said that.      What
    6             "As we reported above, KM's US team has a certain            6        would happen to them?
    7        plan to smear RAK and its Ruler with human rights                 7   A. I have no idea.     I imagine trying to plot a coup d'etat
    8        allegations ."                                                    8        would have serious consequences. What that would mean,
    9             That would be a serious concern, wouldn't it , at            9        I don't know. I'm not familiar
  10         that time, to the Ruler? It would go beyond merely--             10   Q. Capital consequences?
  11         it would go on -- it would go beyond merely a concern            11   A. Well, I'm not familiar with UAE law so I can't answer
  12         about what you've alleged to be some information leak in         12      you.
  13         the Palace, wouldn't it , Mr Page?                               13   Q. So his Lordship can take it -- if you wouldn't mind
  14    A. No, that's not correct, my Lord. Given that as far back            14        answering the question as well -- that the Ruler would
  15         as 2008/2009 his step-brother -- sorry, his                      15        have been very, very exercised by this alleged plot
  16         half-brother, Sheikh Khalid, had produced a report               16        against him?
  17          criticising His Highness and the way His Highness acted         17   A. You mean concerned?
  18         as the Crown Prince.                                             18   Q. Yes.
  19              It goes - - therefore follows that of course he would       19   A. Well, I would imagine so, but he never voiced those
  20         be concerned if there was going to be a campaign against         20        concerns to me.
  21         him, but it would be following - - and again, my Lord,           21   Q.   I suggest that's not true, Mr Page.
  22         it 's on the internet if anyone wants ·· it 's called the        22   A. What is not true?
  23         "Rogue Report", and if anybody wanted to follow it               23   Q. You spoke to the Ruler about various matters at this
  24         through, this would make sense, that this is where they          24        time and you're saying that the Ruler didn't express to
  25         tried to discredit His Highness.                                 25        you concerns about what we see you writing about on

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    1   Q. Mr Page, have I understood your evidence correctly?        Is       1        these three or four pages in this report?
    2        it your evidence that the Ruler was concerned that his            2   A. No.
    3        half-brother was in cahoots with Dr Massaad to start              3   Q.   Is that what you're saying to his Lordship?
    4        some campaign against the --                                      4   A. His brief to me was that, "I believe that my family
    5   A. That is not my evidence.                                            5        member may be working with Khater Massaad". We didn't
    6   Q. Don't interrupt, please.       Don't interrupt, please.             6        stray into, "They're trying to plot my overthrow". We
    7             I understand your evidence to be that the Ruler was          7        didn't - - what I can say on oath, my Lord, is it is
    8        concerned, as you understood it, that his half-brother            8        apparent that His Highness has great concerns about what
    9        was in league with Dr Massaad and that together they              9        is going on within his emirate because, during the time
  10         were mounting some campaign in order to destabilise              10        at which I served him, I have seen that he has enhanced
  11         the Ruler and RAK. I think that's a summaryofwhat                11        considerably the security at the Palace.    For what
  12         you've said today.                                               12        reason, I cannot comment. But I had seen it at my first
  13    A. My evidence is that a member of his family, which is               13        hand. I go to the Palace.    When I first went to the
  14         what I raised with my Lordship before we broke for               14        Palace in 2015, there were no armed security at the
  15         lunch.                                                           15        Palace. To this day there are armed UAE soldiers
  16    Q. But the concern of the Ruler was that there was a plot             16        guarding his palace.
  17         to destabilise him and RAK; in other words, to                   17   Q. Mr Page, can you answer the question rather than give
  18         destabilise his Rulership of RAK. Is that right?                 18        sort of lengthy speeches all the time?
  19    A. Yes.                                                               19   A.   I'm sorry. Please ask your question again.
  20    Q. That would be something of enormous concern to                     20   Q.   I'm going to take longer, I'm afraid, because if you
  21         the Ruler, wouldn't it?                                          21        look at the transcript , I ask you a question and then
  22    A. Well, it would not only be of great concern to the                 22        you give a very long answer.
  23         Ruler, it would be of great concern to the federal               23   A. I beg your pardon, my Lord.
  24         government. The Emirate of Ras Al Khaimah is a federal           24   Q.   Now, you can give a long answer, but do please try to
  25         emirate and anybody who tried to destabilise an emirate          25        answer the question.

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   1    A. I understand, my Lord.                                           1    A.   It is.
   2    Q.   I was asking you about the - - what we see in the project      2    Q. Thank you, Mr Page. And it follows from that, doesn't
   3         update, the three and a half pages that refer to               3         it , that what you put in train on behalf of RAK and
   4         Mr Azima, they do so, don't they, in terms that Mr Azima       4         RAKIA or the Ruler at this time was some serious
   5         is apparently managing Dr Massaad's US team? That's             5        intelligence -gathering on the US team and Mr Azima,
   6         right, isn't it?                                                6        didn't you?
   7    A. That's what the report says, yes.                                 7   A. Correct, using human intelligence sources.
   8    Q. And this report records that this team is in effect               8   Q. And I suggest that you wouldn't have stopped at human
   9         working on Dr Massaad's side of things, doesn't it?             9        intelligence sources, Mr Page. You would have been
  10    A. That is correct.                                                 10        content to use illegal intelligence -gathering services
  11    Q. And I think from your evidence the concern was -- there          11        in order to achieve the information that you were
  12         was a concern with the Ruler that actually this was part       12        required to produce for the Ruler.
  13         of some attempt to threaten the Ruler's stability and          13   A. With respect, no, because this operation actually
  14         position .                                                     14        this part of my mandate ended shortly after we produced
  15    A. No, I would not say that.                                        15        this report .
  16    Q. And I suggest that that was the case, Mr Page, and that,         16   Q. And there's no evidence, is there, Mr Page, that you
  17         since that was the case, the Ruler would have been very,       17        produce -- there's no project update that we've
  18         very focused on anybody whom the Ruler suspected of            18        seen in which there·s any suggestion that the
  19         being part of that alleged plot.                               19        intelligence -gathering and monitoring we see referred to
  20    A. That is not correct.                                             20        here have been brought to an end?
  21    Q. That's fair, isn't it, Mr Page?                                  21   A. Well, it was brought to an end because, my Lord, we
  22    A. No, I think the Ruler's concern was that information             22        decided - - and in discussions with His Highness -- that
  23         regarding the ongoing investigation into                       23        the source that we was using for this - - to obtain this
  24         Dr Khater Massaad and the case being prepared by the RAK       24        information might be compromised. So for his own safety
  25         prosecutor was being shared outside the confines of his        25        we decided to withdraw continuing to obtain information

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    1        organisation.                                                   1        in respect of this campaign.
    2   Q. And, Mr Page, if we go to {H7/299/16] -- I think we can           2   Q. What did you understand the inteillgence -gathering would
    3        go through this little paragraph:                               3        comprise, then? Just human sources; is that right?
    4            "As we reported above, KM's US team ..."                    4   A. Yes, human sources. I mean, if you are to mount
    5            That was viewed by the authors of this report to be         5        a campaign of this - - of that described in my report,
    6        being managed by Mr Azima, wasn't it?                           6        Dr Massaad would have been talking to PR agencies,
    7   A. Yes.                                                              7        corporate communications. We have a number of sources
    8   Q. So we can read it as follows, if for "KM's US team" we            8        which we had used in the Khater Massaad -- I beg your
    9        replace - - if we replace "KM's US team" in this                9        pardon -- in the Sheikh Khalid investigation , who would
   10        paragraph with "KM's US team managed by Mr Azima", we          10        hear -- I mean a mandate -- I apologise if I'm teaching
   11        can read as follows:                                           11        you to suck eggs. Under US law, if you work for a - -
   12            "As we reported above, KM's US team, managed by            12        against the interests of a foreign government, you are
   13        Mr Azima, has a certain plan to smear RAK and its Ruler        13        required to register that with a certain organisation in
   14        with human rights allegations. As far as we know, at           14        the United States.     So therefore we were seeking to see
   15         this point, they do not have any evidence to back up          15        whether any of the main PR agencies had registered an
   16        these allegations , but they started gathering                 16         interest representing Khater Massaad or whoever to go
   17        information for a campaign, based on hearsay and               17         after His Highness.
   18        testimonies, and started searching for a platform to           18    Q. Mr Buchanan gave evidence that you were being paid
   19        make it public.    The campaign is not public yet, so we       19         directly by the Palace in 2015 and 2016. Is that right,
   20         will be able to gather Intelligence on their progress in      20        Mr Page?
   21        order to monitor their activities and attempt to contain       21    A. That is correct.
   22        or ruin their plans."                                          22    Q. Mr Buchanan gave evidence that in 2017 to 2018 you were
   23             Now, Mr Page, the reference to "their progress" and       23        being paid about US $300,000 per quarter. Would that be
   24         "their activities" and "their plans" is a reference to        24       right?
   25        KM's US team managed by Mr Azima, isn·t it, Mr Page?           25    A. That's -- well, from my knowledge. I can't -- without

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   1         referencing my invoices - - if he says that, he would           1    A. Yes, I've read it.
   2         have been authorising my invoices, so perhaps he's got          2    Q.    And you can see that Mr Bustami says this :
   3         the better handle on this than I have.                          3              "I have had few discussions with boss Ithat· s
   4 Q. How much were you being paid in 2015 for this work?                  4          a reference to the Ruler, Mr Page] about FA and he is
   5 A. Again, my Lord, it would vary. It would be 100,000                   5          adamant that we bring charges against him."
   6    a month, it might be - - it depended on the scope of work            6              And then a bit later on it says:
   7    that we were undertaking. I mean, bear in mind that we               7              "He wants me to get you on the case to file some
   8    were working, my Lord, in 14 or 15 jurisdictions .                    8         sort of charges against Farhad."
   9    That's a lot of resources to commit, and not only                     9             And then later on:
  10    consultancy fees or contractors· fees, there's travel                10             "When are you next In town so that me you and Jamie
  11    costs, etc, etc. So I - - honestly, my Lord, I can· t                11         could hook up and coordinate our attack:·
  12    give you a figure because I just don't know it without               12             Do you see that, Mr Page?
  13    referencing material which I don't have before me.                   13   A. I can, my Lord, yes.
  14 Q. Can you be shown [H7 /268). please, Mr Page? Bear in                 14   Q. And you at this time -- you had meetings, didn't you,

  15    mind that that project update is 26 March 2015. Do you               15         with Mr Buchanan and the Ruler?
  16    think it likely that the Ruler -- sorry, go to [H7 /268)             16   A. That is correct.
  17          first .                                                        17   Q. And I put It to you, Mr Page, that you would have been
  18              Mr Buchanan gave evidence that one of the prompts          18         made aware at or around that time that the Ruler was
  19         for the emails - - you' II see there· s some emails in          19         adamant that charges should be brought against Mr Azima.
  20         early April 2015, [H7 /268).                                    20         That's right, isn't it?
  21    A. Do you wish me to read them?                                      21   A. Absolutely not, my Lord.
  22    Q.   I Just want you to -- now you've got the page, listen to        22   Q.    And you would have been made aware that the Ruler wanted
  23         the context. You know context is important. If I could          23         to target Farhad Azima?
  24         set some context for once and then I' II ask you the            24   A. Absolutely not, my Lord.
   25        question.                                                       25   Q.    And you would have been made aware that one -- that you

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    1            Mr Buchanan gave evidence that the March project             1         were -- in effect, that you were being instructed to
    2        update report that I have just taken you to was, he              2         obtain information on Mr Azima because the Ruler wanted
    3        thought, one of the prompts for what we see in these             3         that to be done?
    4        emails referred to as "the Ruler's instruction in                4   A. No, my Lord. I already said I was never instructed by
    5         relation to Mr Azima"; all right?                               5         His Highness or anybody else in Ras Al Khaimah to
    6   A.    If you say so, my Lord. I· m not familiar with this             6         conduct an operation or investigate Farhad Azima, and
    7        correspondence.                                                  7          that is my evidence.
    8   Q. No, and you've got no basis to challenge that, have you?           8    Q.    If you go to {H7 /464), please, you' II see an email on
    9   A. I've never seen it, my Lord, so I don't know -- I'm                9          20 July 2015. Have you got that, Mr Page?
   10         not - - the only person I reported to was His Highness         10    A. Not yet.     (Pause)
   11         directly or Jamie Buchanan. I had no idea what the             11    Q. Have you got that?
   12         internal politics were within the Palace about what was        12    A. Yes, I have, my Lord, yes.
   13         going to be decided or not decided.     It· s not part of my   13    Q.    You can see that on 19 July 2015-- it's the bottom
   14      mandate.                                                          14          email -- MrBuchanansentthls email, saying:
   15   Q. No. So at the foot of the page Mr Buchanan says this to           15              "NB [that's MrBustami] says the Boss wants criminal
   16         Mr Handjani on 4 April 2015:                                   16          stuff taken out of [the] letter and to go after FA ..."
   17             "Good afternoon. HHSS had wanted us to target FA - -       17              Can you see that?
   18         on what basis would we do this?"                               18    A. I can, my Lord, yes.
   19             Can you see that, "to target"? And "FA" is                 19    Q.    And "FA" is a reference to Mr Azima; all right?
   20         a reference to Farhad Azima; all right?                        20    A.    It must be, my Lord, yes.
   21   A. I see that, my Lord, yes.                                         21    Q.    Yes, it must be. So it looks, doesn't it, Mr Page, as
   22   Q. If you go on, please, to [H7 /273), you will see some             22          if, in July 2015, the Ruler was still letting it be
   23         moreemailson4 April 2015, featuring MrBustami,                 23          known that he wanted Mr Azlma to be gone after?
   24         Mr Handjani and Mr Buchanan. Can you read that,                24    A. My Lord, I can· t possibly comment. I had no
   25         Mr Page? (Pause)                                               25          instructions from His Highness to go after Farhad Azima.

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   1          What His Highness was talking about I have no                  1    Q.    And you placed this in 2016.
   2          comprehension.                                                 2    A. Yes.
   3    Q. And I suggest, Mr Page, you were having - - you were              3    Q. And you say in paragraph 15:
   4          involved with the Ruler and Mr Buchanan at that time,          4              "During that conversation, Jamie asked me to keep my
   5          weren't you?                                                   5          ears and eyes open for anything I heard about a negative
   6    A. In 2015?                                                          6          publicity campaign that might be damaging for RAK."
   7    Q. Yes .                                                             7              Do you see that?
   8    A. Yes, that is correct, my Lord.                                     8   A. Yes, I do.
   9    Q. And you were working on the project for them,                      9   Q. We've seen, haven't we, Mr Page, that a negative
  10          weren't you?                                                   10         publicity campaign that might be damaging for RAK was
  11    A. I was working on the mandate as described in my witness           11         something that you were looking at back in March 2015,
  12          statement.                                                     12         as recorded in that project update?
  13    Q.    And that project Included, didn't it, concerning               13   A. No. The Instructions from His Highness in January of
  14          yourself with the alleged campaign by Dr Massaad and his       14         2015 were to establish whether KhaterMassaad was
  15          associates?                                                    15         working In collaboration with a member of his family to
  16    A. I just said in evidence previously we shut down that              16         orchestrate obtaining information illegally from his
  17          particular project as early as April because to continue       17         palace, understanding the strategy, understanding the
  18          with the project would have compromised the source and         18         Investigation .   It was not about ascertaining if there
  19          I have said we decided not to continue with it because         19         was a plan to launch a smear campaign. That came as
  20           it was not necessary.                                         20         a result of our - - we think outside the box, and it just
  21    Q. And I suggest that you would have been told that your             21         happened, in trying to understand whether Khater Massaad
  22          remit to target Mr Azima by getting information for the        22         was working against His Highness' interest with a member
  23          Ruler had become all the more important as at July 2015.       23         of his family, we developed a source who gave us this
  24    A. My Lord, I report what -- I said it once and I will say           24         information which is In the report. We were never
  25           it again.    I was never instructed by His Highness or any    25         mandated to go after it .     It 's something that we used as

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    1          of his advisers to target, investigate - - and by              1         part of the ongoing Investigation Into the link between
    2          "target", I don't know what that means -- Farhad Azlma.        2         Khater Massaad and a member of His Highness' Royal
    3   Q. And I suggest that around about July, when it was made             3         Family.
    4          plain to you that the Ruler still wanted Mr Azlma gone         4    Q. And in paragraph 16 you say this (D/3/5]:
    5          after, you would have redoubled your                           5             "Following this conversation with Jamie, I spoke to
    6          intelligence -gathering efforts on Mr Azima.                   6         a few contacts I use occasionally in the investigations
    7   A. Absolutely not, my Lord. I wasn't doing anything                   7          business, journalism and PR industry and asked them to
    8          against Farhad Azima. Why would I double something I'm         8          keep their ear to the ground."
    9          not doing?                                                      9        Now without giving a lengthy speech, please,
   10    Q. And I suggest that around about October and                      10     Mr Page, who were the contacts you're there talking
   11          November 2015 you caused or procured the hacking of           11     about?
   12          Mr Azima's emails through spear-phishing attacks on his       12 A. I cannot remember.
   13          data.                                                         13 Q. You can't remember?
   14    A. Absolutely not, my Lord.                                         14 A. I cannot remember.
   15    Q. And that you continued to procure illegal access to              15 Q. Including the contacts in the Investigations business,
   16          Mr Azima's data through 2016?                                 16     you can't remember?
   17    A. Absolutely not, my Lord.                                         1 7 A. My Lord, the --
   18    Q. And you made that illegally obtained information                 18 Q. Can you remember or not?
   19          available to those you were working for, namely               19 A. I cannot remember.
   20          the Ruler, RAK and RAKIA?                                     2 0 Q. I suggest, Mr Page, that what you're talking about in
   21    A.    I did not, my Lord.                                           21     paragraphs 15 and 16 were simply a continuation of the
   22    Q. Can we go, please, to paragraph 16 of your witness               22          intelligence -gathering and monitoring project that we
   23          statement at page (D/3/5]? You refer there to                 23          saw evidenced in the March 2015 project update.
   24          a conversation you allegedly had with Mr Buchanan.            24    A. Absolutely not. Absolutely not, my Lord.
   25    A. Yes.                                                             25    Q.    I• m going to ask you about the alleged discovery of this

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   1             data in August 2016. You claim, Mr Page, don't you,             1          embarrassed to say that I'm a din osaur. I do not use
   2             that you learnt of the hacked data on the internet              2          the computer. Because this was going to be searches in

   3             through Mr Halabi?                                              3          the Arabic language, Mr Halabi was one of the people

   4       A. That is correct.                                                   4       that I reached out for .
    5      Q. And you give evidence there in paragraph 18 {D/3/5-6].             5    Q. And I suggest that you have used Mr Halabi -- that you,
    6            Can you see that?                                               6       rather, asked Mr Halab i to sign a statement claiming he

    7      A. Yes.                                                               7          found this hacked data in order that Mr Halabl could
    8      Q. You were in court today, w eren't you, when Mr Halabi              8          serve as some source for that discovery - -
    9            gave his evidence - -                                           9    A. That ls not true, my Lord.

  10       A.    I was, my Lord.                                                10 Q. -- in order to place the source of that discovery at
  11       Q.    -- and when he indicated the way in which he came by           11    least one step further removed from you and/orthe
  12             th is information?                                             12    people working for you.

  13       A. I was, my Lord.                                                   13 A. My Lord, I' m repeating what I said. I was never
  14       Q. And it's right, tsn' t it , that by the time Mr Halabi            14    mandated by His Highness, by any of His Highness'

  15             came by this information, you had worked for many, many        15    advisers, to go after Farhad Azima. So I can't answer
  16             months using t he expert services of Insight ,                 16    the question any farther. I'm telling you that I was

  17             a specialist Israeli outfit?                                   17          never mandated and that's on oath.
  18       A. Absolutely n ot, my Lord.                                         18    Q. And I put it to you, Mr Page, that you arranged for
  19       Q. Had you stopped using Insight by August?                          19       Azima's confidential data, that by this stage h ad been

  20       A. No, they were working on the mandate that we were given           20           lllegally obtained by or through your offices , to be

  21          by Mr Buchanan in March of 2015, which was to                     21          published _onlin e in August 2016.
  22              investigate Khater Massaad's links to Iran , Hezbollah --     22    A. Absolutely not, my Lord.

   23             it's in my evidence -- but Iran, Hezbollah, we were           23    Q. And you were working for RAK and/or RAKIA and the Ruler

   24            looking at -- we were looking in Kyrgyzstan, I was             24       at that time, weren 't you?
   25            looking in DRC, I was looking in -- all over the place,        25    A. Well , I would say, my Lord, I was actually working for

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    1            at least six or seven Jurisdictions , my Lord. But we            1          His Highness, not RAK or RAKIA. I was working for the
    2            were not looking at Dr Farhad -- sorry, correction - - we        2          Government oflraq, of which His Highness is the Ruler.
    3             were not looking at Farhad Azima.                              3    Q. And the Government oflraq ultimately - -
    4      Q. So I suggest, Mr Page, that if you had Insight, with all           4    A. I beg your pardon, "RAK", nor "Iraq".

    5         its expertise, information-gat hering for you at that              5    Q. Yes, and RAKIA is the investment authority of the
    6             time, if there was something interesting and new               6           RAK Government?

       7          concerning Mr Azlma or the alleged campaign that he was        7     A. That is my understanding, my Lord.
       8          involved in for Khater Massaad, you'd have got wind of         8     Q. And you would have been aware that there was a plan
    9              it straightaway from someon e like Insight , wouldn't you,    9        afoot there to ruin Mr Azima through some sort of

   10    Mr Page?                                                               10        offensive which RAKIA had by then launched?

   11 A. No, my Lord, they had a limited mandate and it's in my                 11     A. No, my Lord, I was not privy to any of those
   12    evidence. Jamie asked me to do this not as a mandate.                  12        conversations with His Highness' advisers .
   13    I was not mandated. I was not paid. Just, "If you're                   13     Q. Who else did you tell about the hacking of Mr Azima's
   14    out and abou t, keep you r eyes to the -- ears to the                  14        data, please? Who did you tell about that?
   15    ground in case you hear anything". That was it and they                15     A. As outlined in my statement.

   16    were never mandated by me to do that, because had                      16     Q. I'd suggest that you illegally obtained that data and - -
   17             I mandated them, they would have been paid. I was not          17       did you discuss the illegal obtaining of it with
   18             being paid for this.                                           18          anybody?
   19       Q.    I suggest, Mr Page, that the alleged Involvement of            19    A.    I didn't obtain the information illegally so I'm not

   20             Mr Halabi in relation to discovering t his hacked data is      20          su re who I would have discussed it with.
   21             entirely invented.                                             21    Q. Can I ask you, by August 2016 the negotiations between
   22       A. My Lord, no, lt 's not. That Is - - Mr Halabl and I have          22          RAK and RAKIA and Dr Massaad had broken down, hadn't

   23          had a long-standing relationship . This mandate -- an d,          23       they?

   24             my Lord, Just to answer your question that you raised to       24    A. I believe so, my Lord, but again I'm not party -- I'm
   25             me, I do not -- I am not computer literate. I· m               25          not privy to that sort of conversation.

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   1    Q. And by the end of September litigation had been started,         1            "I believe I spoke to Jamie first because he was my
   2         hadn't it, by RAKIA against Mr Azima?                          2         client and that he asked me then to contact Neil Gerrard
   3    A. Again, my Lord, I'm not privy to that type of -- I'm not         3         at Dechert and let him know what I had heard but it may
   4         part of the litigation team.                                   4         have been the other way round. I think I may have
   5    Q.   Are you aware of what, if any, campaigning has been            5         spoken to them more than once in this period. I do not
   6         carried out on behalf of RAK or RAKIA since                    6         recall how I provided them the links that Majdi had
   7         September 2016 against Mr Azima?                               7         given to me."
    8   A. Sorry, my Lord --                                                8             Can you see that?
   9    Q. Since --                                                         9    A. That is my recollection, my Lord.
  10    A. No -- sorry -- by "campaigning" you mean what?                  10 Q. Then you go on to say:
  11    Q.   I mean online campaigning, I mean spreading stories,          11          "I do not know what Jamie and Nell did with the
  12         trying to promulgate stories adverse to Mr Azima --           12     information ..."
  13       stories adverse to Mr Azima.                                    13          Can you see that?
  14    A. I am aware that they hired media communications                 14 A. No, I passed on the information - - as I said, this was
  15         consultants, but what their mandate was is not within my      15     not a mandate from Mr Buchanan. This was, "Please have
  16         knowledge, my Lord.                                           16     a look". I found it . I passed it on. That was my --
  17    Q.   So you don't know what, if any, steps RAK or RAKIA took       17     the end of my involvement in that particular exercise ,
  18         to mount some sort of publicity campaign against              18     which again was not a mandate. It was Just, "Can you do
  19         Mr Azima since that date; is that right?                      19      this?"
  20    A. My Lord, I'm not privy · to that type of information.           2 0 Q. So after you had passed on this information to
  21    Q. What have you done for RAK or RAKIA since August 2016?          21     Mr Buchanan and Mr Gerrard for the first time -- after
  22         What services have you performed since then?                  22     you'd initially passed it on -- that was the end of your
  23    A. Continued to investigate Khater Massaad; I have                 23     contacting them in that regard?
  24         continued to look at issues involving their dispute in        2 4 A. Other than that I am aware, because I am aware, that
  25         Georgia; I have continued to look at issues in                25         they hired a specialist -- computer forensic specialist

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    1        Kyrgyzstan where money went missing; I have continued to       1         to download the material. Other than that, I'm not
    2        look at money that went missing in India; I have                2        aware of -- and I am aware, my Lord, that Decherts have
    3        continued to look at money that went missing in                 3        reviewed, interrogated the information, but other than
    4          believe Bulgaria - - it may be Romania, my Lord,              4        that, I 'm not aware of anything else .
    5        I can't remember; and, more importantly, the Iranian            5   Q.   But as far as you're concerned, Mr Halabi gave you the
    6        issue . But that is really of great concern to the              6        information, the two links, you then passed it on on the
    7        Government of Ras Al Khaimah.                                   7        phone to Messrs Buchanan and Gerrard or one or both of
    8   Q.    It's right, isn't it - - if you want to go in your             8        them; is that right?
    9        witness statement, please, Mr Page, to [D/3/6) --               9   A. Yes, that's correct, my Lord.
   10   A. Sorry, which?                                                   10    Q. And you didn't pass on any further links to either of
   11   Q.    If you go to paragraph 20, please.   Start at                11         those gentlemen subsequently?
   12        paragraph 19, please, Mr Page.                                12    A. My Lord, I run at that time a company turning over --
   13   A. Yes.                                                            13         I am the chairman of a company turning over £27 million
   14   Q. Thank you. You say in paragraph 19 -- this is your              14         a year.   I am running complex contracts in hostile
   15        account that Mr Halabi called you. Do you remember            15         environments. This was a favour for Mr Buchanan. It
   16         giving -- well, you've given evidence of that in             16         was not - - I didn't keep - - it was literally , "Can you
   17         paragraph 19. Can you see?                                   17          do it ?", I passed the information on and that was it.
   18   A. Yes, I vaguely remember he called me, yes.                      18          I don't recall , I could not possibly recall ,
   19    Q. You say in paragraph 20:                                       19          four years - - nearly four years down the road or
   20             "When I received this information from Majdi,            20          something, my Lord -- four years after the event, what
   21         I would have picked up the phone to Jamie although I do      21          exactly was said and what I said and who I said because
   22         not specifically remember doing so."                         22          I run a very big organisation. I'm the chairman of the
   23             Do you remember that?                                    23          group.
   24    A. Yes, I do remember that.                                       24    Q. Couldyougo, please, to [G/26.10)?
   25    Q. And then a bit later on you say:                               25    A. Yes, I have it in front of me.

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   1    Q. This is a copy of the judgment of Mr Justice Rix, as he           1         both In the United Kingdom and in Switzerland, were to
   2         then was, in Dubai Aluminium v Sayed Reyadh Sayed               2         obtain the information. I at all times - -
   3         Abdulla --                                                      3    Q. What's the answer? You seem to have given the same
   4    A. "Riyadh".                                                         4         answer again not to my question. What's the answer to
   5    Q. I defer to you, Mr Page. 3 December 1998.                         5         my question?
   6             You' II recollect this case, won't you, Mr Page?            6    A. You're asking me the question did I authorise or
   7    A. Yes, it was one of the first cases I did with the - - for         7         sanction - -
   8         the Government of Dubai.                                        8    Q. No, I didn't.      I didn't ask you that.   I asked you
   9    Q. And if we go, please - - I don't think we need to bother          9         whether you thought making pretext calls to the banks in
  10         with the case except for the way it deals with your role        10        the way that Mr Justice Rix describes and with which you
  11         in it.   If you go to (G/26.10/4) please -- that's the          11        must be familiar -- whether you think that's unlawful or
  12         fourth page of this - -                                         12        not. You, Mr Page, here today, what do you think about
  13    A. Yes.                                                              13        it?
  14    Q.   - - can you see what Mr Justice Rix records from lines 19       14   A. Yes, Mr Justice Rix said it was unlawful. I cannot
  15         down to 31, please?                                             15        argue with the decision of Mr Justice Rix.
  16    A. Yes, I can read it, yes.                                          16   Q. So it 's only because he made that finding that you think
  17    Q. Have you read it?                                                 17        It's unlawful, is it? You didn't think Independently --
  18    A. Yes, I'm familiar with it because --                              18   A. No, no, I'm sorry, my Lord. I did not Instruct my
  19    Q. You're familiar with it?                                          19        agents to obtain Information illegally by pretext
  20    A. Yes.                                                              20        information. I only became aware of It when this case
  21    Q. And that's a reference to you, Mr Page, isn't it, in              21        came before Mr Justice Rix. My instructions to my
  22         that page?                                                      22        agents then and to this day Is: you operate within the
  23    A.   It Is, my Lord, yes.                                            23        law.
  24    Q.   And there was evidence, wasn't there, filed through an          24   Q. I· m sorry, Mr Page, I suggest that's not truthful and
  25          affidavit before Mr Justice Rix, In relation to this           25        that you would -- that you are perfectly happy to nod

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    1        particular application, "... that information in                 1        and wink at sub-agents so that they get information by
    2        relation to certain of Mr Ai Aiawi's accounts had been           2        whatever means necessary.
    3        obtained by a sub-agent Instructed by Page Associates            3   A. My Lord, this was an enormously complex investigation
    4        making what Mr Page of that firm called 'pretext calls '         4        involving what I would only describe as an organised
    5        to the banks concerned      "                                    5        crime gang working within Dubai Aluminium. I did not
    6             Do you see that?                                            6        commission or authorise them to do it .    I accept
    7   A. Yes, my Lord.                                                      7        unreservedly that this is in breach of the law as
    8   Q.   And from your evidence today, it sounds as if you don't          8        prescribed in Mr Justice Rix's decision, for which
   9         think making pretext calls to banks would be unlawful;           9        I have apologised to the court, but I can say no more on
  10         is that right?                                                  10        it .    It was not something I sanctioned; it came out
  11    A. My Lord, my instructions to my agent at the time                  11        after the event.
  12         I commissioned them to conduct the work into                    12   Q.   If we go to {G/26.10/5]. can you read lines 16 to 27,
  13         Mr Al Alawl, who by, my Lord -- at that point was               13        please, Mr Page?
  14         subject to a criminal investigation both in Dubai and           14   A. Sorry?
  15         Switzerland, was to undertake Investigations . I had no         15   Q.   It starts :
  16         knowledge until this case arose as to how they obtained         16               "This evidence is not answered on behalf of Dubai."
  17         that information.                                               17               Can you see?
  18    Q. What's the answer to my question?                                 18   A. Oh, sorry, you're talking - - all right.
  19    A. That I -- sorry, was your question did I authorise                19   Q. Lines 16 down to 27.
  20       pretext calls?                                                    20   A. Yes, understood.
  21    Q. I said that from your evidence today it sounds as If you          21   Q. That's all right.       Just read that to yourself, please.
  22         didn't think that making pretext calls to banks to              22        (Pause)
  23         obtain Information would be unlawful.                           23   A. Yes, I can see what it says, yes.
  24    A. Sorry, I said -- I did not say I did not think It was             24   Q. Mr Justice Rix found, didn't he, that there was a strong
  25         unlawful. I'm saying that my Instructions to my agents,         25        prima facie case of criminal or fraudulent conduct in

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   1         the obtaining of such information concerning                     1         Shashank Manohar (BCCI president) and Lalit Modi and the
   2         Mr Al Alawi's accounts?                                          2         secretary's (Anurag Thakur) pictures with an alleged
   3    A. I accept that, my Lord, yes.                                       3         bookie were generated and circulated to a section of the
   4    Q.   And that was something which had arisen as a result of           4         media·, said the official ."
   5         your use of the sub-agent to get Information for                 5             There was a concern, wasn't there, about the illegal
   6       a client?                                                          6         obtaining of emails and their disclosure to the press?
   7    A. That Is correct, my Lord, yes.                                     7       Is that right?
   8    Q.   Can we go, please, to (G/26.15]? Haveyougot that,                8    A. No, because at that time, my Lord, Lalit Modi was under
   9    Mr Page?                                                               9        Investigation by what is called the "CBI", which is the
  10 A. Yes.                                                                  10        Central Bureau of Investigation , ie the Indian
  11 Q. Do you see that?                                                      11        equivalent of the FBI, in relation to criminal activity .
  12 A. Yes.                                                                  12        I have no Idea whether they sought to get information
  13 Q. This is a piece by the Hindustan Times on December 15,                13        from Lalit Modi, but the reference to - - this is not
  14    2015. You can see what It says:                                       14        something I took part of.
  15         "BCCI wants all details of snooping from UK firm.                15   Q. Were you involved in any alleged illegal obtaining of
  16         "With the previous cricket Board secretary                       16        emails at this time?
  17    Sanjay Patel clarifying his position on the payment of                17   A. No, my Lord.
  18    US$900,000 ... made in 2013-2014 for a controversial                  18   Q. Can I ask you finally, please, to go to {Hl0/353].
  19    surveillance that is being alleged was aimed at fellow                19        please, whereyou'll see a copy of a judgment of
  20          officials , the focus has shifted to the UK-based               20        Sir Andrew Smith in the case called
  21         security and investigations company, Page Protective             21        JSCBTA Bank v Ablyazov and others. Can you see that,
  22         Services (PPS) that carried it out."                             22        Mr Page?
   23            Can you see that, Mr Page?                                   23   A. I can, my Lord, yes.
   24   A. I can, my Lord, yes.                                               24   Q. I'm sure you're familiar with this litigation , aren't
   25   Q. You can see that the article then runs on over the page.           25        you, enough --

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    1         If you go to the second page, please, (G/26.15/2], you           1   A.    Relatively so, yes.
    2        can see - - if you just read it to yourself and then I' 11        2   Q.   This records a judgment of Mr Justice Smith on
    3         ask you some questions.                                          3         15 February 2018. You can see from paragraph 1 he
    4   A. I'm familiar with this publication, my Lord.                        4         refers to the fact that this is a long-running dispute,
    5   Q.    Yes. So what this piece suggests is that there was               5        with allegations of conspiracy made by the bank against
    6         going to be some enquiry into work which your company            6        the defendants, and freezing injunctions have been
    7         had carried out in relation to a certain Indian cricket          7        obtained and receivership orders made against the
    8         board: is that right?                                            8         defendants in relation to this litigation ; all right?
    9    A. That is correct, my Lord, yes, although the company is             9             Then if you go to paragraph 7 at {Hl0/353/2], you'll
   10         actually -- the article is -- the name of the company           10         see the matters before Sir Andrew Smith. Can you see
   11         that undertook the work is not PPS UK.                          11         there?
   12    Q. And is it right that you carried out the surveillance             12   A. Yes, my Lord, yes.
   13         that's referenced here, you or your firm?                       13   Q.    One of the defendants had applied to challenge the
   14    A. My Lord, I'm in some difficulty again.      This is -- the        14         orders the bank had obtained on two grounds: one was
   15         instructions from the BCCI, the Board of Cricket Control        15         that there had been non-disclosure and the second was
   16         in India, is a confidential instruction between myself          16         that the bank did not have clean hands; all right?
   17         and the then chairman of the board. I 'm not sure - -           17         Those were the two grounds of challenge. And the
   18         I know the article refers - - I 'm not sure, my Lord, I •m      18         learned judge dismissed those challenges, but he dealt
   19         at liberty to tell you what my instructions were or the         19         with the clean hands argument at page 21 of this
   20         background to this instruction .   It• s - - my Lord, I· m      20         judgment, starting at paragraph 113 [Hl0/353/21]. Can
   21         being asked to breach confidentiality again and I don't         21         you see that?
   22         feel very comfortable about it.                                 22    A. Yes.
   23    Q. And one of the quotes here is (G/26.15/2] :                       23    Q. And one of the defendants raised four complaints in
   24             '" If this is the case, we are Interested to find out       24         relation to the clean hands argument. You can see (i ),
   25         from where and how email exchanges between                      25         ( Ii ), ( iii ), (iv).   It's the fourth one.   It was said by

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   1          one of the defendants that the bank had:                        1                "During the hearing, Mr Samek introduced an
   2               "... misled the court when applying for a disclosure       2            alternative version of this complaint: that the Bank
   3          order against Mr Eesh Aggarwal."                                3            knew ofMr Aggarwal's involvement with Mr Khrapunov and
   4               Right?                                                     4            with Mr Ablyazov's assets through meetings that
   5       A. Yes.                                                            5            Mr Nurgabylov and Mr Raklshev had with Mr Page before
   6       Q. It' s that fourth aspect that concerns you. If you go,          6            the meeting in February 2016 to which Mr Tucker
   7          please, to page 24 of this Judgment, to the heading             7            referred.  In support of this allegation Mr Khrapunov
    8          "Disclosure order against Mr Aggarwal" (Hl0/353/24) •·         8            relied on a letter from Mr Page's solicitor ,
   9       A. Sorry.                                                          9            Stewarts Law LLP ..."
  10       Q. That's all right. Take your time.                               10                Can you read on? Can you read on, please, the rest
  11       A. Which paragraph are you reading?                                11           of paragraph 134, please, (Hl0/353/24-25) ·· to the end
  12       Q. It starts at paragraph 128. Do you have that at the top         12           of 134?
  13           of page (Hl0/353/24)?                                          13      A. Yes , my Lord. I'm familiar with that .
  14       A. Yes.                                                            14      Q. So there was evidence, wasn't there, Mr Page, in this
  15       Q. Paragraph 129 •· sorry, 128, this is where the judge is         15         Ablyazov judgment of Sir Andrew Smith, that you,
  16          dealing with the fourth bit of the clean hands thing; in        16           Mr Page, had been saying, claiming, that you had bank
  17           other words, that there's been •· the disclosure by the        17           information derived from Israeli hackers. That's right,
  18           bank has not been right. Paragraph 129:                        18         Isn't it?
  19               "The evidence in support of the application was            19      A. My Lord, the affidavit in support of Hogan Lovells was
   20          a statement made by Mr Tucker and dated 14 June 2016.          20         written by Mr Tucker. I did not meet with Mr Tucker.
   21          He said that the Bank had 'recently discovered that            21         I met with Mr Chris Hardman, who ls a partner. I did
   22          Mr Ablyazov and Mr Khrapunov [had] been working [with]         22           not say • • and I do not know where this information has
   23          Mr Aggarwal'. He complained that the Bank was contacted        23           come from ·· that It was Israeli hackers. I'm in some
   24          in early 2016 by a Mr Stuart Page, who had claimed to          24            difficulty because I • · that • • Mr Tucker was not
   25          act for unnamed Israeli 'hackers' who had extracted            25           present at that meeting so I have no Idea as to how

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    1          information from Mr Aggarwal's computer. At a meeting           1           Mr Tucker made that assumption.
    2          with Mr Hardman and a Mr Nurlan Nurgabylov, a senior            2      Q.   It's right, isn't it, Mr Page, that you do have access
    3           official of the Bank, on 17 February 2016 Mr Page showed       3         to expert hackers, don't you?
    4          documents indicating that Mr Aggarwal was involved with         4      A. No, I do not have access · · and, my Lord, I was provided
    5          a number of named companies. Mr Khrapunov's complaint              5      information from a source in Dubai that showed that
    6           is that the Bank was dishonest about when it learned              6        Mr Eesh Aggarwal had knowingly assisted in the
    7           about Mr Aggarwal administering Mr Ablyazov's assets and          7        commission ofa laundering of $700 million stolen from
    8           dealing with Mr Khrapunov: that it had information                8        the BTA Bank. My first approach ·· and I go back to my
       9        obtained by unlawful hacking and wanted to appear to              9         Lord · · is that I saw that this ls evidence of
   10           have come by the information legitimately ."                  10            a criminal conspiracy. I presented the information to
   11                Can you see that?                                        11            the bank and to the legal · • to the Ministry of Justice
   12       A. I can, myLord,yes.                                             12            and told them that they should seek MLAT ·· MLAT
   13       Q. And in paragraph 130 the judge goes on:                        13            assistance. I'm sure you know what "MLAT" stands for.
   14                "It appears from Mr Jenkins' evidence   "                14            I did not commission nor was I paid to access
   15                Then that runs on.                                       15            Eesh Aggarwal's information.
   16               Can you see the last sentence:                            16       Q. And I suggest, Mr Page, that you caused or procured the
   17               "It is said that the UAE would have responded to the      17            hacking of Mr Azima's emails in this matter and made
   18           request and provided information about assets managed by      18            that material available to RAK and RAKIA.
   19           Mr Aggarwal. (According to Mr Jenkins, between                19       A. Absolutely not, my Lord.
   20           November 2011 and September 2013 the Republic of              20       MR LORD: Thank you, Mr Page.
   21           Kazakhstan made other requests of other states for legal      21       MR TOMLINSON: My Lord, I've no re-examination, unless
   22           assistance that referred to companies of which,               22          your Lordship has any questions.
   23           according to the Bank, it had later learned from              23       JUDGE LENON: No, I don't have any questions. Thank you,
   24           MrPage ... )."                                                24            Mr Page.
   25                Can you see that? Then paragraph 134:                    25       A. Thank you, my Lord.

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